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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

LSH CO, and WELLS FARGO BANK,
NATIONAL ASSOCIATION, as securities
intermediary for LSH CO,

Plaintiffs, Case No. __-cv-

v. COMPLAINT

LINCOLN NATIONAL CORPORATION,

and THE LINCOLN NATIONAL LIFE

Defendants.

 

 

Plaintiffs LSH CO (“LSH”), and Wells Fargo Bank, National Association (“Wells
Fargo”), solely in its capacity as securities intermediary for LSH, by and through their attorneys,
file this Complaint against Defendants Lincoln National Corporation and The Lincoln National

Life Insurance Company, and allege as follows:

NATURE OF THE ACTION

1, This is an action based on Lincoln’s unlawful and excessive cost of insurance
(“COI”) increase applicable to certain of its JPF Legend 300 and Universal Lifesight UL 32
universal life insurance policies. Plaintiffs own six Lincoln policies issued between 1995 and
2005 (the “LSH Policies”), The LSH Policies were originally issued by Jefferson-Pilot Life
Insurance Company, which was subsequently acquired by Lincoln. Lincoln imposed the
challenged increases to the LSH Policies (and other similar policies) in 2016 and 2017,

2, By drastically raising the COI Rates (defined below) on the LSH Policies, Lincoln
has forced LSH either to (1) pay exorbitant premiums that Lincoln knows would substantially
reduce the value of the policies, or (2) lapse or surrender their policies, thereby forfeiting the

premiums LSH or its predecessors in interest have paid for a number of years. Lincoln, on the
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other hand, stands to gain a huge windfall through either unallowable higher premium payments,
both past and future, or by holding onto premiums it already has received for policies on which it
never needs to pay death benefits.

3, The cost and harm to LSH, and other policyholders, is substantial. For instance,
for the LSH Policies alone, the improper COI Rate increases will result in a total increase of
millions of dollars in premiums through the maturity of the LSH Policies.

4, Lincoln’s misconduct, as described more fully herein, constitutes express
breaches of Plaintiffs’ policies, breaches of the implied covenant of good faith and fair dealing,
and a violation of California’s Unfair Competition Law (“UCL”). Therefore, Plaintiffs seek
compensatory and punitive damages, as well as equitable relief and attorneys’ fees.

THE PARTIES

5, Plaintiff LSH is a public limited liability company (société anonyme)
incorporated and existing under the laws of the Grand-Duchy of Luxembourg, having its
registered office at 14, rue Edward Steichen, L- 2540 Luxembourg.

6. LSH is the owner of the LSH Policies and the successor in interest to LSH CO
and LSH II CO, both formerly public limited liability companies (société anonyme) incorporated
and existing under the laws of the Grand-Duchy of Luxembourg.

7. Plaintiff Wells Fargo is a national banking association with its principal place of
business in Sioux Falls, South Dakota. LSH is the ultimate beneficiary of the Policies at issue in
this case, which it holds in a securities account maintained by Wells Fargo, solely as securities
intermediary for LSH pursuant to a Securities Account Control Agreement. As the securities
intermediary, Wells Fargo is “a person, including a bank or broker, that in the ordinary course of
its business maintains securities accounts for others and is acting in that capacity.” U.C.C. § 8-

102(a)(14)(ii). Each life insurance policy at issue constitutes a “Financial Asset” that Wells

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Fargo, as securities intermediary, has credited to the securities account. LSH is the “entitlement
holder” and is entitled to exercise the rights with respect to each Financial Asset credited to the
securities account. LSH owns the ultimate financial interests in the policies. Wells Fargo, as
securities intermediary for LSH, is identified as the owner and beneficiary on the records of the
insurance company, Lincoln.

8. Upon information and belief, Defendant Lincoln National Corp. (“LNC”) has its
home office and principal place of business at 150 North Radnor-Chester Rd., Radnor,
Pennsylvania 19087. LNC is and has been at all relevant times a corporation organized under
Indiana law. LNC acquired Jefferson-Pilot Corporation (together with Jefferson-Pilot Life
Insurance Company, “‘Jefferson-Pilot’”) for about $7.5 billion in cash and stock in a merger
consummated in 2006.

9. Defendant The Lincoln National Life Insurance Company (“Lincoln Life”) is a
subsidiary of LNC. Upon information and belief, The Lincoln National Life Insurance Company
is an Indiana corporation with its principal place of business in Radnor, Pennsylvania. Except
where context requires distinguishing them, Defendants LNC and Lincoln Life are referred to
collectively, and in the singular, as “Lincoln” herein.

10. Asaresult of the merger of LNC and Jefferson-Pilot in 2006, on information and
belief, all of Jefferson-Pilot’s insurance policies that are the subject of this lawsuit were
absorbed, owned and controlled by the combined company, LNC, which sold and operated its
universal life insurance products through its subsidiary Lincoln Life and LNC’s marketing arm
doing business as Lincoln Financial Group.

JURISDICTION AND VENUE

11. This Court has jurisdiction over this matter under 28 U.S.C. § 1332(a) because the

amount in controversy exceeds $75,000, and there is complete diversity of citizenship, as
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Plaintiffs are citizens of Luxembourg and South Dakota, and Lincoln is a citizen of the State of
Indiana.

12. This Court has personal jurisdiction over Lincoln because, upon information and
belief, Lincoln regularly conducts and transacts business in Pennsylvania.

13. Venue is proper pursuant to 28 U.S.C. § 1391(a)(1), (a)(2), and 1391(b) because,
upon information and belief, Lincoln resides in the Eastern District of Pennsylvania.

FACTUAL ALLEGATIONS

A. Plaintiffs Are Owners of Universal Life Insurance Policies
Subject to Lincoln’s COI Rate Increase

14, The LSH Policies are universal life insurance policies that were developed,
marketed, and originally issued between 1995 and 2005 by Jefferson-Pilot, which, as noted, was
subsequently acquired by Lincoln. Lincoln is the successor-in-interest to Jefferson-Pilot.
Universal life insurance has an insurance element and a cash value element. Universal life
insurance provides flexibility and choices to policyholders, allowing them the option, within
limits, to increase or decrease their premiums at their discretion based on their individual
circumstances and choices, and based on the cash balance of the policy.

15. The LSH Policies range in face amount from $1 million to $10 million and are
listed in the attached Exhibit 1. The LSH Policies were issued and delivered in the States of
California and Florida, to LSH’s predecessors in interest, whose rights and interests have been
assigned in full to LSH. An exemplar LSH Policy, redacted for privacy, is attached as Exhibit 2
(“LSH Doe Policy”). As noted above, Wells Fargo is listed on Lincoln’s records as the owner
and beneficiary of the LSH Policies, but solely as securities intermediary for LSH. LSH
provides the funding to maintain the LSH Policies in force and, as the entitlement holder, owns

the ultimate financial interest in the LSH Policies.
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16. Although LSH holds two different types of Lincoln universal life insurance
policies, they share key features. As noted, universal life insurance consists of two separate
components. The first is the life insurance or “mortality” component, for which an insurance
company charges premiums to cover the risk of the insured’s death. This component often is
referred to in the insurance industry as the insurer’s “cost of insurance” or “COI.” The second is
the accumulated cash value or “savings” component, which functions as an investment vehicle
and is where excess premiums accumulate and earn interest. The excess premium is the amount
of the premium above what the insurer charges for the insurance portion of a life insurance
policy. Universal life insurance “unbundles” these two components to allow policyholders to
choose whether to pay just enough premiums to cover the risk of death (i.e., pay solely for the
life insurance) or pay more (subject to certain limitations) and build up a cash value that earns
tax-deferred interest.

17. When an owner of a universal life insurance policy makes a premium payment,
that payment is credited towards the funds in the policyholder’s account, and Lincoln deducts the
COI and other charges from the policy account (the “Monthly Deduction”). After deducting the
Monthly Deduction from the policy account, any balance that is left reflects the ending policy
account value, or “Policy Value.” See Exhibit 2 at 8. The Policy Value accrues interest at a rate
that cannot be lower than the guaranteed minimum interest rate (4% for the LSH Policies; see,
e.g., Exhibit 2 at 4, 8). If the funds in the policy account become insufficient to cover the
amounts owed for expenses and COI, the policy will enter a grace period and eventually lapse if
the policyholder does not make the necessary payments to bring the policy back into force.

18. Under the LSH Policies at issue here (and similar Lincoln policies held by other

policyholders), the Monthly Deduction is calculated by a contractual formula where a “cost of
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insurance rate” (“COI Rate”) is multiplied by the net amount of risk (the difference between the
cash value of the policy and the death benefit) at the beginning of the policy month. For
example, the LSH Doe Policy provides that the “Cost of Insurance” is:
determined on a monthly basis as the cost of insurance rate for the month multiplied by the
number of thousands of net amount at risk for the month. The net amount at risk for a
month is computed as (1) minus (2) where
(1) is the death benefit for the month before reduction for any indebtedness, discounted to
the beginning of the month at the guaranteed interest rate.

(2) is the policy value at the beginning of the month.

Exhibit 2 at 8.!

19. The COI is designed to cover the cost of the life insurance policy and is the
largest and most significant charge under the LSH Policies,

20. | The COI Rates are based initially on certain characteristics of the insured, such as
the insured’s gender, age, and risk class. The COI Rate increases every year as the insured ages.

21. | Universal life insurance policies, like the LSH Policies, have guaranteed and non-
guaranteed components. “Guaranteed” elements, such as the guaranteed minimum interest rate
on the savings component, described below, are fixed and cannot be changed by the insurer.
Guaranteed elements are subject to review and approval by regulatory authorities, the parameters
of which are made available to the general public. The COI Rate is an example of a “non-
guaranteed” component, meaning the insurer retains the right to adjust that element subject to the
terms of the contract. At the time the LSH Policies were issued, non-guaranteed components

usually were not reviewed by, and not limited or approved by, regulatory authorities.

 

' Four of the LSH Policies, including the Doe Policy, have the same formula for calculating COI set forth above.
Although to date Plaintiffs have only been able to obtain a Policy Certificate for one LSH policy—which is also a
JPF Legend 300 UL product—upon information and belief, this policy too contains the same COI definition. One of
the LSH policies has a COI definition which differs slightly, but is materially similar.

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22. The LSH Policies state that Lincoln will determine the COI Rate for each policy
on a monthly basis. But, although the COI Rate is a non-guaranteed component, Lincoln’s
ability to change the COI Rate is limited under each of the LSH Policies.

23. First, the LSH Policies provide that Lincoln will not discriminate among
policyholders within the same rate class in determining the COI Rate: “Any change in the
monthly cost of insurance rates used will be on a uniform basis for Insureds of the same rate
class.” See, ¢.g., Exhibit 2 at 8. A “rate class” is a category of insured that corresponds to a
level of risk; for example, “pref[erred] plus non-tobacco user” is a rate class for one of the LSH
Policies; so is “std [i.e., standard] non-tobacco user.”

24, Second, the LSH Doe Policy, and the other LSH Policies, also provide that:
“Rates will be based on our expectation of future mortality, interest, expenses, and lapses.” See,
e.g., Exhibit 2 at 8. Accordingly, under the terms of the LSH policies, Lincoln may not increase
its cost of insurance rates to compensate for past experience, including losses or diminished
profits. Consistent with this express contractual limitation, in a 2015 filing with the National
Association of Insurance Commissioners (“NAIC”), Lincoln confirmed that, “[c]ost factors that
can vary are periodically reviewed and may be adjusted based on changes in prospective
assumptions. These adjustments are made in such a way that past losses (i.e., experience less
favorable to the Company than expected) are not recouped.” Exhibit 10, 2015 NAIC Annual
Statement of The Lincoln National Life Insurance Company, at Exhibit 5, Interrogatory 3.

25. In addition to this being an express contractual limitation, insurers such as
Lincoln are not permitted to increase insurance premiums to make up for past losses or lower
profits. The Interstate Insurance Product Regulation Commission provides that adjustments to

non-guaranteed elements “shall be based on future anticipated or emerging experience.”
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Similarly, Actuarial Standard of Practice No. 2, ““ASOP No. 2”), which provides guidance to
actuaries with respect to the determination of non-guaranteed elements of life insurance policies,
states that “[t]he actuary should consider conducting tests of illustrated nonguaranteed charges or
benefits to ascertain whether those could be supported by reasonably anticipated experience,”
and further states that when available and appropriate, the actuary should disclose “the
anticipated experience factors used in the determination of nonguaranteed charges and benefits
and any material changes in such factors from the last determination.” See ASOP No. 2,
available at http://www.actuarialstandardsboard.org/asops/nonguaranteed-charges-benefits-life-
insurance-policies-annuity-contracts/#2 1 -anticipated-experience-factor (last accessed Dec. 21,
2018) (emphasis added), ASOP No. 2 defines “anticipated experience factors” as an
“assumption that reflects anticipated experience and may be used to determine nonguaranteed
charges or benefits. A particular anticipated experience factor reflects future experience of a
specific type. Examples of experience factors include investment income, mortality, policy
termination, and expense rates.” Id. (emphasis added). Thus, rate increases must be based on
projections of what the insurer believes will occur in the future.

26. The LSH Policies all are contracts of adhesion in that they are form policies
drafted by Lincoln, and policyholders are not permitted to negotiate different terms. All six LSH
Policies are substantially similar and are subject to the same or similar material terms and
conditions.

B. Lincoln Unlawfully Increased COI Rates

27. Beginning on or around September 6, 2016, Lincoln notified Wells Fargo, as
securities intermediary for LSH, by letter that it was increasing COI Rates on the LSH Policies.
An example of such a letter (for the LSH Doe Policy) is attached hereto as Exhibit 3. Lincoln

sent five letters to Wells Fargo, as securities intermediary for LSH, in September 2016 (“2016
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Notice Letters”) which stated that Lincoln was increasing the COI Rates on five of the LSH
policies. The letters stated that the increases would begin in October 2016 for four of the LSH
policies and in November 2016 for one LSH Policy. In addition, Lincoln sent a letter to Wells
Fargo, as securities intermediary for LSH, in July 2017 (2017 Notice Letter”) stating that COI
Rates would increase beginning the following month for one of the LSH policies.

28. All six of the LSH Policies were subject to significant COI Rate increases.
Lincoln has never explained the methodology used to determine the rate increases, nor did its
notice letters specify the amount of the increases. The 2016 Notice Letters stated that the
“amount of the COI rate change depends upon the product, underwriting class and duration.”
See, e.g., Exhibit 3 at FAQ 3. Lincoln’s statement that a policy’s increase would depend on
“duration” indicates that increases were not applied uniformly across policies within the same
rate class, in violation of the LSH Policies. Recent calculations estimate that Lincoln has
increased COI Rates on the LSH Policies by between 30% and 57%,

29, Lincoln purported to justify these increases by claiming that it was “operating in a
challenging and changing environment as we continue to face nearly a decade of persistently low
interest rates, including recent historic lows, and volatile financial markets.” See, e.g., Exhibit 3.
In addition, in statements to Lincoln’s brokers and agents that have become public in pending
litigation, Lincoln attempted to justify the COI Rate increases using three factors: (1) “Lower
investment income as a result of continued low interest rates;” (2) “Updated mortality
assumptions, including instances of both higher and lower expected mortality rates versus prior
expectations;” and (3) “Updated expenses, including higher reinsurance rates.” See Exhibit 4,

Abbreviated Preview Edition of the Upcoming August 29, 2016, Lincoln Leader.
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30. The stated reasons by Lincoln, however, were and are false, as Lincoln has neither
experienced, nor reasonably can expect to experience, higher mortality rates, lower investment
income going forward, or other adverse changes in expenses for its policies, including the LSH
Policies. Rather, Lincoln wanted to induce policy lapses on policies on which it already received
millions of dollars in premium payments by driving up COI Rates, thereby avoiding its
obligation to make death benefit payments, and boosting its profits.

31. Lincoln also never explained to policyholders how its mortality and investment
income assumptions had altered. Indeed, to LSH’s knowledge, Lincoln has not publicly
disclosed, made available for public comment, or publicly filed any of its revised COI Rates or
the documents supporting its decision to increase such rates. Lincoln has resisted public
disclosure of underlying analyses that could supposedly support the COI Rate increase,

32. The illegality of Lincoln’s COI Rate increases became apparent over time, as
Lincoln refused to explain the bases for the increases and gave pretextual justifications. In
November 2016, counsel representing other Lincoln policyholders subject to the COI Rate
increase sent a letter to Lincoln requesting an explanation for the increase. Lincoln’s responses
were vague and misleading. For example, having been asked to identify which of Lincoln’s
future cost factors have changed, in one letter response dated January 4, 2017, Lincoln simply
repeated the language in the policies by stating, “[t]he policies’ costs of insurance rates are based
on certain cost factors including mortality, interest, expenses, and lapses. Lincoln’s future
expectations for these cost factors have changed.” See EFG Bank et al. v. The Lincoln National

Life Insurance Company, 17-cv-02592 (E.D. Pa.), Dkt. 7-10. In addition, in the same letter,

 

when asked how the duration of a policy impacts the COI Rate and the amount of the rate

increase, Lincoln simply reformulated its prior statement in an FAQ to the Notice Letters, that

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“t]he amount of the COI rate change depends upon duration, as well as the product and
underwriting class.” Id.

33. Despite Lincoln’s efforts to shield the information it has regarding the actual basis
for its COI Rate increase, it is now apparent from its evasive and misleading explanations that
Lincoln breached its duties under the LSH Policies in at least the following ways. First, though
expressly required by the LSH Policies, the COI Rate increases were not applied “on a uniform
basis for Insureds of the same rate class.” Second, the COI Rate increases were not “based on
[Lincoln’s] expectation of future mortality, interest, expenses, and lapses,” but rather were an
impermissible attempt to recoup past losses and boost its profit margins. Third, the COI Rate
increases were imposed to evade and defeat policyholders’ right to the contractually guaranteed
minimum crediting rate of 4% under the LSH policies. Fourth, the COI Rate increases breached
the implied covenant of good faith and fair dealing that is inherent in every insurance contract by
seeking to force policy lapses that would deny policyholders the benefits of the LSH Policies
(which conduct also violated the UCL). Each of these breaches is detailed further below.

C. Lincoln’s COI Rate Increase Was Not Uniform for Insureds of the Same Rate Class

34. Lincoln breached the provision of the LSH Policies which requires that any
change in COI Rates be made “on a uniform basis for Insureds of the same rate class” because
the COI Rate increase was not applied uniformly for each rate class. Instead, as Lincoln itself
conceded in the 2016 Notice Letters, “[t]he amount of the COI rate change depends upon the
product, underwriting class and duration”; that is, Lincoln acknowledged that it did not apply the
COI increase uniformly for each rate class, and that instead it discriminated within the same rate
class on the basis of a policy’s “duration.” See Exhibit 3 at FAQ 3. As noted, Lincoln also
admitted in its January 4, 2017 letter to counsel for other policyholders that the COI increase was

dependent in part on a policy’s “duration” — and hence was not applied uniformly within the

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same rate class — by stating “[t]he amount of the COI rate change depends upon duration, as

 

well as the product and underwriting class.” See EFG Bank et al. v. The Lincoln National Life
Insurance Company, 17-cv-02592 (E.D. Pa.), Dkt. 7-10, Exh. 7.

35. | Similarly, in the 2017 Notice Letter, Lincoln stated that rates are based on factors
including “mortality, interest, expenses, and the length of time policies stay in force.” But
whether labeled “duration” or the “length of time policies stay in force,” this is not a permissible
factor on which to base increases under the LSH Policies or to discriminate among policyholders
within the same rate class. If it were, Lincoln could raise COI Rates more on policies that were
closer to maturity (and hence payment of the death benefit), in the hopes of forcing those policies
to lapse; while increasing rates less on policies further from maturity, which will pay premiums
for longer. Such a difference in treatment is inconsistent with Lincoln’s promise that “[a]ny
change in the monthly cost of insurance rates used will be on a uniform basis for Insureds of the
same rate class.” See, e.g., Exhibit 2 at 8.

D. Lincoln’s COI Rate Increase
Was Not Based on Permissible Factors, but Sought to Boost Profits

36. The LSH Policies state that Lincoln may change the COI Rates, but only
uniformly within rate classes, and only on the basis of four permissible factors under the
Policies, namely, Lincoln’s expectation regarding future mortality, interest, expenses, and lapses.
Further, in order to be made in good faith, the amount of any COI Rate increase must be
reasonably calibrated to the magnitude of Lincoln’s changes in expectations. No contractually
permissible factor supports the COI Rate increase on the LSH Policies, and even if expectations
as to those future factors had changed, they would not support the severe rate hikes imposed by

Lincoln—up to 57% for all but one of the LSH policies.

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37. Though it was initially unclear from Lincoln’s vague, general statements in the
Notice Letters precisely which future cost factors purportedly justify the COI Rate increases and
how, it now appears that Lincoln relies primarily on mortality, interest and reinsurance rates.
But none of these factors, nor any other permissible factor, credibly warrants the substantial

increases imposed.
i. Changes in mortality do not justify the increases

38. In the Notice Letters and statements to its agents and brokers Lincoln cited future
expectations for mortality as one of the cost factors that could justify the COI Rate increase. But
this assumption is far from reasonable and, indeed, the exact opposite is true.

39, As a general matter, mortality rates have improved steadily each year since the
LSH Policies were issued. That is, mortality rates have gotten better over time. For example, in
2015, the National Center for Health Statistics “(NCHS”) reported “[s]ignificant decreases in
mortality in 2014 compared with 2013” and observed that the year-to-year improvement was
consistent with long term trends. Sherry L. Murphy, et al., Mortality in the United States, 2014,
NCHS Data Brief No. 229, at 5 (Dec. 2015). In 2017, the NCHS reported that “the age-adjusted
death rate decreased by 0.6% from 733.1 deaths per 100,000 standard population in 2015 to
728.8 in 2016.” Kenneth D. Kochanek, et al., Mortality in the United States, 2016, NCHS Data
Brief No. 293, at 2 (Dec. 2017).

40. The National Association of Insurance Commissioners periodically issues (or
requests the Society of Actuaries to issue) a series of Commissioners Standard Ordinary (“CSO”)
mortality tables, which are industry standard and commonly used by insurers to calculate the cap

for universal life COI charges, like the COI Rates at issue here.

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41. Upon information and belief, for the mortality assumptions underlying the LSH
Policies, Lincoln relied upon the “1980 Commissioners Standard Ordinary Male or Female,
Smoker or Non-Smoker Mortality Tables” (for attained ages 18 and over) (“1980 CSO”)

42. However, since the time of the 1980 CSO that Lincoln relied upon, there have
been multiple studies and updates to the mortality tables. For example, major updates include
the 1990-1995 Basic Select and Ultimate Mortality Tables, the 2001 Valuation Basic Table, the
2008 Valuation Basic Table, and the 2015 Valuation Basic Table. The 2001, 2008, and 2015
Valuation Basic Tables each show significant mortality improvements from the 1990-1995 Basic
Tables and the 1980 CSO. These new mortality tables demonstrate that since Lincoln originally
priced the policies, mortality has improved, not worsened, which would support a decrease, not
an increase, of COI Rates,

43. The trend of improving mortality is even more pronounced for older aged
insureds, as shown in both the 2008 and 2015 Valuation Basic Tables. For example, the
mortality rates at ages 90-100 are lower in the recent tables than in the 1980 CSO. Moreover,
the NCHS recently reported that death rates decreased significantly between 2015 and 2016 for
age groups 65-74 (0.5%), 75-84 (2.3%), and 85 and over (2.1%). See Kochanek at 3.

44, There is simply no negative mortality experience, or any reasonable projection of
negative experience to come, that could justify an increase in the COI Rate, let alone the severe
increases that Lincoln imposed.

45. Notably, Lincoln has not identified any negative experience or projections in its
statements to its regulators. Each year, life insurance companies file with state insurance
departments a Statement of Nonguaranteed Elements, which answers certain interrogatories

about the nonguaranteed elements of their policies, Interrogatory No. 4, for example, asks

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whether Lincoln’s “anticipated experience factors underlying any nonguaranteed elements [are]
different from current experience.” Lincoln’s Statements of Nonguaranteed Elements from 2010
to 2015, filed publicly in another pending action in this District, are attached hereto as Exhibits 5
to Exhibit 10, respectively. In the four years preceding Lincoln’s initial rate increase in 2016,
Lincoln never once stated that its anticipated mortality was worse than its current experience. In
fact, in each year from 2010-2014, Lincoln filed responses with NAIC, stating that it expected
mortality experience to improve. In addition, Lincoln’s 2015 NAIC Annual Statement explained
that “mortality experience is also predicted to improve in the future.”

46. On January 25, 2016 Lincoln filed its 2015 NAIC Annual Statement, less than
nine months before it began notifying the LSH policyholders of the COI Rate increase. It is
implausible that, in such short order, Lincoln went from anticipating no adverse changes in
mortality to anticipating negative mortality changes that could possibly justify increases of up to
57% increase in the cost of insurance as Lincoln has actually imposed on the LSH Policies.

47, Lincoln’s failure to inform its regulators contemporaneously of the supposed
negative mortality experience further belies any assertion by Lincoln that it has suffered a serious
setback in mortality assumptions and demonstrates that Lincoln’s mortality justification for the
COI Rate increase is pretextual. Lincoln’s actual motivation is to cause policyholders to lapse
their policies by making them too expensive to maintain and not a worthwhile investment. That

way, Lincoln will have collected premiums for years, but never have to pay out the death benefit.

il. Historical interest rates and lower past investment income
cannot, and do not, justify the COI increase

Ag. Lincoln also has attempted to justify its COI Rate increase based on a
“challenging and changing environment” and “nearly a decade of persistently low interest rates,

including recent historic lows, and volatile financial markets.” See, e.g., Exhibit 3. However,

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neither changes in the financial environment nor historical interest rates can warrant Lincoln’s
significant rate hike for a number of reasons.

49, First, upon information and belief, Lincoln’s rate increase is based on a decline in
interest rates that began several decades ago. This historical decline cannot be the basis for an
increase in COI Rates because such changes must be prospective; that is, any change must be
based only on “expectation of future mortality, interest, expenses, and lapses.” Exhibit 2 at 8
(emphasis added). In other words, any COI Rate increase must be grounded in expectations as to
“future” cost factors and cannot be implemented to recover past losses or reduced investment
income due to lower interest rates. But Lincoln’s attempt to justify the COI Rate increases in the
2016 Notice Letters — by stating that it was “operating in a challenging and changing
environment as we continue to face nearly a decade of persistently low interest rates, including
recent historic lows” — demonstrates that it impermissibly utilized past cost factors, including
“persistently low interest rates” in raising COI Rates. As to the future, it is well known that
interest rates are on the rise, and have been for some time.

50. Second, even if lower interest rates over the past several decades were a
permissible factor upon which Lincoln could raise the COI Rate (they are not), they would not
justify the massive increase imposed by Lincoln because interest rates should be a relatively
minor factor in calculating Lincoln’s cost of insurance (and, consequently, its COI Rate).

51, To begin with, as it relates to COI Rates, “interest” (one of the cost factors
Lincoln may consider) can refer only to the interest that Lincoln earns (or expects to earn) on its
profits from providing insurance, and not on funds in its policyholders’ accounts. As explained

above, universal life insurance policies, like the LSH Policies, consist of two distinct components

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— (a) the life insurance, or “mortality,” component; and (b) the Policy Value, or “savings,”
component. Lincoln earns interest on both of these components.

52. However, although a life insurance company may earn interest on both the
mortality component and the savings component, it can consider interest it earns only on the
mortality component when determining the cost of insurance; the interest it earns from investing
funds in policyholder accounts is relevant only to setting the interest rate credited to those
accounts. This is because the cost of insurance, the mortality charge, is intended to cover the risk
of the insured’s death, not the interest rate risk associated with policyholder accounts (and
guaranteeing policyholders a minimum interest rate on their policy accounts).

53, The cost of insurance charge also includes an expected profit over the insurance
company’s expected cost of paying out death benefits (1.e., its mortality), The insurance
company then expects to invest this profit and earn interest on it. The company then factors this
profit and the interest on this profit in setting the cost of insurance rates (or, here, COI Rate
increases). Lower interest rates may result in lower interest income, but lower interest rates
would not result in a loss unless the insurance company’s investments had a negative return. But
this is highly unlikely to occur because most life insurance companies invest primarily in fixed-
income securities, such as bonds. Thus, to the extent Lincoln is raising COI Rates because it is
earning less interest on its mortality profits, it is highly unlikely that this lower interest income
would justify an increase in COI Rates, much less one as high as 57%.

54, To illustrate this, assume Lincoln’s cost of insurance contemplated a 20%
mortality profit. For every $120 in cost of insurance charges received in a year, Lincoln would
expect to pay out $100 in claims, leaving $20 in mortality profits to invest. If it assumed it

would earn 5% interest on the profit of $20 in that year, it would expect to earn $1.00 of interest.

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If it now expects to earn 1% instead of 5%, the interest would drop to $0.20 instead of $1.00. In
other words, Lincoln is earning $20.20 instead of $21.00 on the mortality component, which is a
difference of less than 4%, assuming mortality is as expected. If Lincoln experienced favorable
mortality, that favorable mortality experience should also offset the cost associated with the
lower than expected interest. Although this is a very rudimentary example, it illustrates how a
decline in interest is not likely to result in a rate increase as high as 57%.

55. As to the interest earned on the savings component of a universal life insurance
policy, a life insurance company expects to earn a spread on the funds that policyholders
maintain in their policy accounts. That is, if the life insurance company is earning 8% interest on
policyholder accounts, it may credit policyholders 7% and earn a spread of 1%. If interest rates
are low and the company is earning only 5% interest, it may lower the crediting rate to 4% and
still earn a 1% spread. Thus, even if Lincoln could consider the interest it earns from investing
funds in policyholders’ accounts (which it cannot), this would not justify an increase in COI
Rates, but only a change in the interest rate credited to policyholder accounts,

56. However, if Lincoln expects to earn only 3% interest from investing funds in
policyholders’ accounts, Lincoln cannot reduce the crediting rate to 2% because this rate would
be below the 4% guaranteed minimum interest rate credited to policyholders. Nor, however, can
Lincoln attempt to offset this loss by raising the COI Rates. If it could, the cost of insurance
(which is calculated by using COI Rates) would not be a mortality charge, but a way for Lincoln
to guarantee its profitability on the policies by transferring to policyholders all risk under the
policies, including the interest rate risk on policy account values and the risk of interest rates
falling below the guaranteed minimum interest rate. This would render the guaranteed minimum

interest rate meaningless.

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57. Furthermore, even if Lincoln is considering only interest on its mortality profits, it
is simply not credible that Lincoln projects less interest income going forward. Interest rates
have been rising for a number of years, as is widely known, which means that, if anything,
Lincoln should expect interest income to increase. Of course, a projection that interest rates are
likely to rise would tend to justify a decrease, rather than an increase, in the COI Rate.

58. ~ Moreover, Lincoln indicated in its financial statements in the years prior to the
COI Rate increases that its “investment income” had actually grown. For example, Lincoln

reported the following for investment income in 2015 and 2016: $4.611 billion (2015), $4.631

billion (2016).
iii. | Reinsurance rates are not an enumerated factor under the
LSH Policies and cannot justify the COI increase
59. As noted, Lincoln also attempted to justify the COI Rate increases on the basis of

higher reinsurance rates, which it misleadingly characterized as “updated expenses.” However,
reinsurance costs cannot provide material support for the increase, and reinsurance costs are not
an enumerated permissible factor for an increase. While “expenses” are one of the permissible
COl-rate setting factors under the LSH policies, it is clear that Lincoln’s reinsurance costs do not
qualify as policy expenses, such as the relatively small “administrative charges” referenced in the
LSH policies (which do not mention reinsurance costs at all). Rather, reinsurance is a cost that
the insurer voluntarily undertakes with an undisclosed third party; it is not a cost of
administering the policy. Indeed, Lincoln itself distinguishes between “expenses” and
“reinsurance costs” in its 2015 and 2017 NAIC Annual Statement. See Exhibits 10 and 11.
Finally, Lincoln National’s recent earnings releases do not mention losses due to increased

reinsurance costs at all — in fact, its Q4 2014 results show a $53 million profit on recapturing

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policies from out of reinsurance contracts. Whatever changes there have been in Lincoln’s

future reinsurance costs cannot provide material support for the increase.

iv. The basis for the increase was Lincoln’s desire to boost its
profits

60. Because none of the future cost factors Lincoln has cited to justify its COI Rate
increases in fact justifies them, LSH believes, and on that basis (among others) alleges, that
Lincoln is raising COI Rates to achieve its original profit expectations. By drastically raising
COI Rates on the LSH Policies, Lincoln seeks to force LSH either to (a) pay exorbitant
premiums that Lincoln knows would no longer justify the ultimate death benefits or (b) lapse or
surrender its policies, thereby forfeiting the premiums paid by LSH and its predecessors over the
last decades. Lincoln, in turn, will make a huge profit — either through higher premium
payments or by eliminating a large group of policies (through lapses or surrenders) and keeping
the premiums that have been paid to date.

61. Allowing Lincoln to do so would be impermissible not only because it would fail
to meet the criteria for a permissible increase pursuant to the express language of the LSH
Policies, but also because using cost of insurance increases to guarantee Lincoln’s original
profitability assumptions constitutes prioritizing its own interests over the rights of
policyholders, which is a breach of the implied covenant of good faith and fair dealing.

E. The COI Rate Increase
Circumvents the Guaranteed Minimum Interest Rate

64. Under the express terms of the LSH Policies, a policyholder has the right to pay
just enough premiums to cover the monthly policy charges, including the Cost of Insurance. If
the policyholder contributes more than needed to cover the monthly policy charges, leaving a
balance remaining in the policy account, the LSH Policies provide that the balance will accrue

interest at a rate no lower than the guaranteed minimum interest rate. Exhibit 2, at 8. As noted,

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the guaranteed minimum interest rate provided for under the LSH Policies is 4%. See, e.g., id. at
4, 8.

65. Lincoln suggested that low interest rates were at least one reason for its increase
in the COI Rates. To the extent Lincoln considered the interest it earns on funds in policyholder
accounts, the rate increase also violates the LSH Policies’ guaranteed minimum interest rate
provision. Lincoln had planned to generate income on the spread between the guaranteed
minimum interest rate it credits to policyholders and the higher rates Lincoln believed it could
earn by investing funds in policyholder accounts. Under the LSH Policies, Lincoln could
choose to credit policyholders with an interest rate higher than the guaranteed minimum rate. If
Lincoln was crediting policyholder accounts with an interest rate higher than the 4% minimum
guaranteed rate, it could compensate for any reduction in interest it earned on policy accounts
due to lower interest rates by reducing the (non-guaranteed) crediting rate. But if interest rates
dropped below the 4% threshold, Lincoln could not recover any resulting losses by lowering the
interest rate on policy accounts any further because the LSH Policies provide for a minimum
guaranteed interest rate of 4%. By instead raising COI Rates to account for such losses,
however, Lincoln is trying to do indirectly what it cannot do directly: it is using COI Rates to
achieve an interest crediting rate that is lower than the guaranteed minimum interest crediting
rate, which violates the LSH Policies.

66. In short, Lincoln is trying to take the “guarantee” out of the guaranteed minimum
interest rate by recouping profits it lost when it guaranteed policyholders what ultimately turned
out to be a favorable interest rate. By depriving policyholders of the right to the guaranteed
minimum interest rate, Lincoln has breached not just the express terms of the LSH Policies, but

also the implied covenant of good faith and fair dealing.

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FIRST CLAIM FOR RELIEF
(Breach of Contract)
67, Plaintiffs repeat and reallege paragraphs 1 through 66 as if fully set forth herein.
68. The LSH Policies are valid and enforceable contracts.
69. Plaintiffs have performed their obligations under the LSH Policies and are not in
breach thereof.
70. Lincoln’s COI Rate increase has breached the LSH Policies materially and in

several respects, including but not limited to the following:

a. Basing the COI Rate increase on factors other than those enumerated in
the policies;

b. Increasing the COI Rates in order to recoup past lost profits and boost its
profit margins, rather than basing the increase on expectations of future
costs;

C. Increasing the COI Rates in an attempt to circumvent the contractually

guaranteed minimum crediting rate; and

d. Applying the COI Rates in a manner that was not on a uniform basis for
insureds of the same rate class.

71. As a direct and proximate cause of Lincoln’s material breaches of the LSH

Policies, Plaintiffs have suffered and will suffer damages in an amount to be proven at trial.

 

SECOND CLAIM FOR RELIEF
(Breach of Implied Duty of Good Faith, Contractual)
72. Plaintiffs repeat and reallege paragraphs | through 71 as if fully set forth herein.
73. The LSH Policies are valid and enforceable contracts.
74. Plaintiffs have performed their obligations under the LSH Policies and are not in

breach thereof.

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75, As valid and enforceable insurance contracts, each of the LSH Policies contains

an implied covenant that the parties will exercise good faith and fair dealing with respect to the

performance of the contract.

76. Lincoln materially breached the implied covenant of good faith and fair dealing

contained in the LSH Policies in several respects, including but not limited to:

a. Charging excessive COI Rate increases that deprived Plaintiffs of the
benefit of their actual policy account values;

b. Using COI Rate increases to enhance Lincoln’s profitability, thereby
placing its interest in maximizing gains over the rights of policyholders;

c. Basing COI Rate increases on considerations of interest income earned on
policy accounts rather than mortality profits;

d. Using its discretion over COI Rate increases to circumvent contractual
requirements for the guaranteed minimum crediting rate;

e. Increasing the COI Rate in order to recoup past lost profits and boost its
profit margins, rather than basing the increase on expectations of future
costs; and

f. Attempting to coerce Plaintiffs either to allow the LSH Policies to lapse or
to pay exorbitant premiums that Lincoln knows would substantially reduce
the value of the policies.

77, Lincoln’s acts were consciously and deliberately designed to destroy Plaintiffs’

rights to receive the fruits of their contracts and violated covenants which LSH reasonably

believed were included in the contracts.

78. As a direct and proximate cause of Lincoln’s material breaches of the covenant of

good faith and fair dealing contained in the LSH Policies, Plaintiffs have suffered and will suffer

damages in an amount to be proven at trial.

THIRD CLAIM FOR RELIEF
(Breach of Implied Duty of Good Faith, Tortious)

79, Plaintiffs repeat and reallege paragraphs | through 78 as if fully set forth herein.

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80. LSH Policy Nos. JP5517504, JP5517505, JP5515525, and JF5517035 were issued
in California (“California Policies”).

81. The California Policies are valid and enforceable contracts.

82. Plaintiffs have performed their obligations under the California Policies, and are
not in breach thereof.

83. As valid and enforceable insurance contracts, each of the California Policies
contains an implied covenant that the parties will exercise good faith and fair dealing with
respect to the performance of the contract.

84. Lincoln’s conduct constitutes bad faith breaches of the California Policies in
several respects, including but not limited to:

a. Charging excessive COI Rates that deprived Plaintiffs of the benefit of
their actual policy account values;

b. Using COI Rate increases to enhance Lincoln’s profitability, thereby
placing its interest in maximizing gains over the rights of policyholders;

C. Basing COI Rate increases on considerations of interest income earned on
policy accounts rather than mortality profits;

d. Using its discretion over COI Rate increases to circumvent contractual
requirements for the guaranteed minimum crediting rate;

e. Increasing the COI Rates in order to recoup past lost profits and boost its
profit margins, rather than basing the increase on expectations of future
costs; and

f. Attempting to coerce Plaintiffs either to allow their California Policies to

lapse or to pay exorbitant premiums that Lincoln knows would
substantially reduce the value of the California Policies.

85. Lincoln’s acts constitute tortious bad faith breaches of Plaintiffs’ insurance

contracts with respect to the California Policies.

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86. As a direct and proximate cause of Lincoln’s bad faith breaches with respect to
the California Policies, Plaintiffs have suffered and will suffer damages in an amount to be

proven at trial.

FOURTH CLAIM FOR RELIEF
(Injunctive and Restitutionary Relief Pursuant to the UCL)

87, Plaintiffs reallege the allegations contained in paragraphs 1 through 86 as if fully
set forth herein,

88. LSH’s predecessors in interest under the California Policies assigned all rights,
including rights to bring claims under the UCL, to LSH.

89. Lincoln committed acts of unfair competition by engaging in, among others, the
following practices:

a. Charging excessive COI Rates that deprived Plaintiffs of the benefit of their
actual policy account values;

b. Using COI Rates to guarantee Lincoln’s profitability assumptions, thereby placing
its interest in maximizing gains over the rights of policyholders;

c. Basing COI Rates on considerations of interest income earned on policy accounts
rather than mortality profits;

d. Using its discretion over COI Rates to circumvent contractual requirements for
the guaranteed minimum crediting rate;

e. Increasing the COI Rate in order to recoup past lost profits and boost its profit
margins, rather than based on future expectations; and

f. Engaging in all of the foregoing practices for the purpose and with the intention of
coercing Plaintiffs either to allow their policies to lapse or to pay exorbitant
premiums that Lincoln knows would substantially reduce the value of the policies.

90. A claim under the UCL’s “unfair” prong is predicated on a “business practice”
that “violates established public policy” or is “immoral, unethical, oppressive or unscrupulous
and causes injury to consumers which outweighs its benefits.” Lincoln violated the “unfair”

prong by excessively raising the COI Rate for reasons not authorized under the policies, with the

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intention of causing the policies to lapse, depriving policyholders of the benefits of their policies
while creating a windfall for Lincoln.

91. LSH is informed and believes and on that basis alleges that the “unfair” practices
alleged above are continuing in nature and are widespread practices engaged in by Lincoln.

92. Plaintiffs respectfully request that the Court issue an injunction against Lincoln
preliminarily and permanently enjoining it from increasing COI charges based on the reasons
and factors Lincoln has identified to date. Unless an injunction is entered, Plaintiffs will suffer
irreparable harm because, even if Plaintiffs are awarded money damages for past increases,
Lincoln can continue to increase rates wrongfully in the future based on the same unfair business
practice, which would defeat the purpose of the UCL.

93. Plaintiffs furthermore respectfully request that this Court order restitution to be
paid by Lincoln to Plaintiffs for COI charges, premiums, and other amounts wrongfully required,

obtained and collected as the result of the improper COI Rate increase.

FIFTH CLAIM FOR RELIEF
(Declaratory Judgment)
94. Plaintiffs reallege the allegations contained in paragraphs 1 through 93 as if fully
set forth herein.
95. | For reasons including, but not limited to, those stated herein, there exists an actual

dispute and controversy between Plaintiffs and Defendant concerning Plaintiffs’ rights and
Defendant’s obligations under the LSH Policies, including but not limited to how Defendant
must implement any change in the COI Rates and under what circumstances Defendant may

change the COI Rates.

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96. Accordingly, Plaintiffs seek a declaration that Defendant’s increase in the COI
Rates is improper under the LSH Policies and that any excess premiums received must be
returned or the LSH Policies’ account values recalculated according to the original COI Rates.

97. Such a declaration will help prevent or limit any future controversies under the
LSH Policies by declaring when and how Defendant can change the COI Rates on its in-force
policies.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for relief and judgment as follows:

1. Awarding Plaintiffs compensatory and punitive damages in an amount to be
determined at trial;

2. Awarding pre-judgment and post-judgment interest;

3. Awarding the costs of the suit herein incurred, including reasonable attorneys’
fees to the extent permitted by law;

4, Awarding restitution;

5, Enjoining Lincoln from imposing COI Rate increases for the reasons Lincoln has

identified to date;

6. Declaring the rights and duties of the parties as indicated herein; and
7. Any other and further relief as the Court may deem just and proper under the
circumstances.

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DATED: New York, New York
December 21, 2018

 

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National Association, as securities intermediary
for LSH

*A pplication for admission pro hac vice to be
submitted

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DEMAND FOR JURY TRIAL
Plaintiffs hereby demand trial by jury pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure.

DATED: New York, New York

December 21, 2018 /} f Va

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EXHIBIT 1
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List of Lincoln Policies

 

 

 

 

 

 

 

 

Owner Policy Number | Issue State
1. | The Lincoln National Life Insurance Company _ | JP5166265 FL
2. | The Lincoln National Life Insurance Company — | JP5517504 CA
3. | The Lincoln National Life Insurance Company | JP5517505 CA
4. | The Lincoln National Life Insurance Company — | JF5515525 CA
5. | The Lincoln National Life Insurance Company | JP4382435 FL
6. | The Lincoln National Life Insurance Company | JF5517035 CA

 

 

 

 

 
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EXHIBIT 2
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Document Cover sheet

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Jefferson-Pilot
Life insurance Company

Home Office: 1060 North Greene Street
P.O. Box 21008
Greensboro, North Carolina 27420

This policy is a legal contract between the policy owner and
the Company. It is important that you read your contract
carefully.

Jefferson-Pilot Life insurance Company will pay the
proceeds of this policy to the beneficiary upon receipt of due
proof that the death of the Insured occurred while the policy
was in force. This payment and ali other rights, options and
benefits will be subject to the terms of this policy.

Right to Cancel Policy Within 20 days after you receive
this policy , you may have it cancelled by returning it to
us, to the agent from whom you bought it, or toe any of
our agents. The retum of this policy will void it from the
beginning and we will refund any premiums paid.

Guide to Policy Provisions

Aninual R@pOSt 0... cc ieee cee ss cece eenntetetenecnseeeneeeeseritias
Benefits and Premiums oo... ccscccccseerrcetensererinres

DOPINIIOMS oo ccccecc ce seetsteeserecesrnesneesesesesearerens

General Provisions... cece caret ceenens
INSUFANCE COVEFAGE PIOVISIONS .......cesceeeseeerseeeseenes

Death Benefit

Death Benefit Qualification Test

Death Benefit Options
Nonforfeiture Provisions...

Surrender and Surrender Value

Partial Surrender

Owner and Beneficiary 0.0... cesses cree

Policy Loans...

Policy Specifications . paces vsesunesaeseeessengeettesnceetenens

Premium ProviSiOns ..0......ccceeeecscesseecrseeetareere

Grace Period
No Lapse Guarantee
Reinstatement

Settlement Options ..

Table of Maximum Insurance ‘Rates .

3

saceeene 1

Riders providing supplemental benefits or policy changes, if

any, and a copy of the application follow Page 14.

 

Chief Executive Officer Secretary
Insured: fp
Policy Number; JP5517504
Age and Sex: v7 MALE
Specified Amount: $10,000,000

Death Benefit Option: 1

FLEXIBLE PREMIUM
ADJUSTABLE LIFE

Policy Date:

JANUARY 17, 2005

Proceeds payable at death. Flexible premiums payable during lifetime of Insured. Policy values may increase or
decrease as determined by declared interest and risk rates. Non-participating.

Form UL3000 Page 1
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Insurance Coverage Provisions

Death Benefit The death benefit of the policy is the larger
of:

{a) The death benefit under the Death Benefit Option in
effect; or

(b) The policy vaiue at the beginning of the policy month of
death times the Corridor Factor shown in the table on
page 4.

The death benefit will be reduced by any indebtedness on
the date of death. The policy value at the beginning of the
policy month of death used in calculating the death benefit is
after subtracting all parts of the monthly deduction for the
policy month except for the cost of insurance.

Death Benefit Qualification Test This policy is intended to
qualify as life insurance under the internal Revenue Code.
The death benefit provided by this policy is intended to
qualify for the Federal income tax exclusion. Two methods
of qualifying as lite insurance are the Cash Value
Accumulation Test and the Guideline Premium Test, as
defined in Internal Revenue Cade Section 7702. The Death
Benefit Qualification Test for this policy is shown on page 4
and cannat be changed. Uniess You elected otherwise, the
Death Benefit Qualification Test is the Guideline Premium
Test.

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Death Benefit Options

Option! The death benefit is the Specified Amount on the
date of death.

Option fl The death benefit is the Specified Amount on the
date of death plus the policy value at the beginning of the
policy month of death.

If this policy is in force at the attained age 100 of the ;
Insured, the Specified Amount and Death Benefit Option wil
change automatically as described in the General
Provisions under Changes in Insurance Coverage.

Page 2
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SCHEDULE OF BENEFITS AND PREMIUMS ~ POLICY NUMBER JP-5517504

A ee eh nthe Nm LH WO OR LRT gg aN Hi AONE OE ONE SOY SD fee sisi Man Mt He nn Tn Sm Sn gee SSR MW Sa NH wm a We Sep Seem mes em er ih a ei ee

FORM EFFECTIVE MONTHLY RATE YEARS
NUMBER BENEFIT DATE DEDUCTION CLASS PAYABLE
UL3000 INITIAL SPECIFIED 10,000,000 JAN 17, 2005 SEE PREF PLUS23
AMOUNT PAGE 8 NON-
TOBACCO
USER

3387 ACCELERATED BENEFITS RIDER JAN 17, 2005 0.00

POLICY SPECIFICATIONS

ee ay ce panne cy Am am Ne el pet NE Te Mme me Armee Se Seu sl ag

NOTE: IF YOU PAY THE PLANNED PREMIUM ON TIME, COVERAGE WILL CONTINUE UNTIL
JAN 17, 2010 BASED ON GUARANTEED INTEREST AND GUARANTEED COST OF
OF INSURANCE RATES SHOWN IN THE POLICY. IF YOU MAKE POLICY LOANS,
PARTIAL SURRENDERS, OR CHANGES IN COVERAGE, PREMIUMS PAID OR RIDERS,
YOUR COVERAGE MAY TERMINATE BEFORE THE ABOVE DATE.

BENEFICIARY AS STATED IN APPLICATION UNLESS LATER CHANGED.

POLICY NUMBER JP-5517504 POLICY DATE JAN 17, 2005
AGE AND SEX 77 MALE

SPECIFIED AMOUNT $10,000,000

DEATH BENEFIT OPTION I |

PLAN OF INSURANCE FLEXIBLE PREMIUM
ADJUSTABLE LIFE

F3100-p PAGE 3

 
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ixsurco

POLICY NUMBER JP-5517504

FORM NUMBER UL3000
PLANNED PREMIUM 377,026.00 ANNUAL

Brus’ ADDI DDITIONAL INITIAL PREMIUM OF $67,698
MINIMUM SPECIFIED AMOUNT | $100,000.00

FACTORS USED IN CALCULATION OF POLICY VALUES

MONTHLY ADMINISTRATIVE CHARGE
14,00 FOR POLICY MONTHS 1-12
$4.00 FOR POLICY MONTHS 13 AND LATER

ADMINISTRATIVE CHARGE PER g1 000 OF SPECIFIED AMOUNT
$ .06 FOR POLICY MONTHS 1-12

NET PREMIUM FACTOR
65% FOR POLICY MONTHS F THE FIRST $38

12 0 3,
12 OF ANY ADDITIONAL
AND LATER

200.00 OF GROSS PREMIUM
GROSS PREMIUM

MORTALITY TABLE USED TO CALCULATE MINIMUM CASH SURRENDER VALUES ~
1980 CSO MALE OR FEMALE NONSMOKER OR SMOKER

INTEREST RATE USED TO CALCULATE MINIMUM CASH SURRENDER VALUES - 4.00%
NO LAPSE GUARANTEE FACTORS
NO LAPSE MONTHLY PREMIUM $20,373.12
NO LAPSE GUARANTEE PERIOD JAN 17, 2005 TO JAN 17, 2010
SE TEST THE NO SE TEST IS ME

TF ets MINUS (2) MINUS ta) 1S GREATER THAN OR EQUAL TO (4), WHERE:

1) 1S OTAL GROSS PREMIUMS PAID;
g IS ALL PARTIAL SURRENDERS ;
4

IS ANY INDEBTEDNESS;
1S THE CUMULATIVE NO PAPSE PREMIUMS DUE,

PLAN OF INSURANCE FLEXIBLE PREMIUM
ADJUSTABLE LIFE

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POLICY NUMBER JP-5517504
FORM NUMBER UL3000

TABLE OF GUARANTEED POLICY VALUES FOR $ 10,000,000 INITIAL SPECIFIED AMOUNT
DEATH BENEFIT OPTION I

— em oe at ea ae or Sm NE NO aN Neem
ee a tt OE 8 a se UH GN SS ST TI Ma ns He ie OD SD td SY ye neh ans aL GE mE SY Sh mam Gee te SM HY! ee mh A SE GY NY Gt en a Se ne EH wa eh rat sem cee er se se

THE TABLE BELOW SHOWS THE MINIMUM GUARANTEED CASH VALUES OF THE

POLICY, THESE VALUES ARE BASED ON 4.00% INTEREST, COST OF INSURANCE RATES
SHOWN ON PAGE 112, NO PARTIAL SURRENDERS, AND PAYMENT OF THE PLANNED PREMIUM
AS INDICATED ON PAGE 4 TO THE END OF THE POLICY YEAR SHOWN. A CHANGE IN
ANY OF THESE ASSUMPTIONS WILL CHANGE THE STATED VALUES.

PLANNED CASH
END OF PREMIUM SURRENDER
POLICY FOR OR LOAN
YEAR YEAR VALUE
1 444,724 0
2 372,026 0
3 377/026 0
4 377 (026 0
5 377,026 0

PIRATION YEAR 6 (AGE 83) THIS IS THE YEAR THE POLICY WILL EXPIRE
SUMING THE PAYMENT OF THE BF NAD PREMIUM AS SHOWN ON PAGE 4 AND BASED
THE USE OF GUARANTEED INTEREST AND COST OF INSURANCE RATES.

PLAN OF INSURANCE FLEXIBLE PREMIUM
ADJUSTABLE LIFE

F3100~pD PAGE 4 (CONTINUED)
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INSURED
POLICY NUMBER JP-5517504
FORM NUMBER UL3000

TABLE OF SURRENDER CHARGES PER $1,000 OF INITIAL SPECIFIED AMOUNT

ot ah ey eh Sm) i err Wen SH MH us HO UA sy ones eis} int AD te fmm seme pK SY gD OS KA Sm DN YI re IE gD SE Sy ph SED St YR EE Sr ES MEN fe NOON ORE SON Nt GO Ste FS HONE ey

POLICY SURRENDER
MONTH CHARGE
i- 12 22,51
13- 24 20.61
25~- 36 17.82
37- 48 14.64
49- 60 11.39
61- 72 8.41
73- 84 5.88
85- 96 3.90
97-108 2.46
109-120 1.47
121-132 0.83
133-144 0.44
145-156 0.22
157-168 O.11
169-180 §- 93

181 & 0.00
LATER

POLICY LOAN INTEREST RATE 5.00%

POLICY LOAN INTEREST RATE ON PREFERRED LOANS 4.00%
PARTIAL SURRENDER MINIMUM AMOUNT $500.00

PARTIAL SURRENDER FEE $50.00

PLAN OF INSURANCE FLEXIBLE PREMIUM
ADJUSTABLE LIFE

F3100-D PAGE 4 (CONTINUED)

 

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isureD [a

POLICY NUMBER JP-5517504
FORM NUMBER UL3000

DEATH BENEFIT QUALIFICATION TEST - GUIDELINE PREMIUM TEST
TABLE OF CORRIDOR FACTORS

ee SA cee WH SR EI me An mit SE i i itn mal AOL Sm He ah eu eT ne i

ATTAINED CORRIDOR

AGE FACTOR

77 1.05

38 1505

7 1.05

Bo 1305

8 1:05

83 1:62

f 1:98

Be 1,05

87 1.05

8 1°05

Bg 1:05

30 1205

91 1°04 |
92 1.03

93 1°02 ;
94 1201

95 1200

AND OVER

PLAN OF INSURANCE FLEXIBLE PREMIUM
ADJUSTABLE LIFE

F3100-D PAGE 4 (CONTINUED)
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Definitions

Where all of the terms below appear in the policy, we define
them as follows:
We, Our, Us Jefferson-Pilot Life (insurance Company.

You, Your The Owner of the policy.

Home Office Home Office of Jefferson-Pilot Life Insurance
Company, PO Box 21008, Greensboro, North Carolina
27420, The Jefferson-Pilot Home Office Telephone
Number is (336) 691-3000.

Policy Date The date we use to determine policy
anniversaries and monetary values.

Age The Insured’s age, nearest birthday, on the policy date.

Attained Age The tnsured's age as measured from the
policy date with allowance for time elapsed.

Indebtedness The principal of a policy loan together with
interest due.

Nonparticipating No dividends will be paid on this policy.

Notice, Election, Request Writings satisfactory to us that
have been received at our Home Office. We will not be held
responsible for any payment or other action we have taken

before your writings are recorded at our Home Office.

Irrevocable Beneficiary A beneficiary, named by you as

' irrevocable, whose written consent is necessary for you to

exercise any right specified in this policy.
Monthly Anniversary Day The same day in each month as
the policy date.

Cash Surrender Value The policy value as of the date of
surrender less the charge, if any, for full surrender, and less
any indebtedness.

Proceeds The money we will pay if this policy matures as a
death benefit or is surrendered for its cash surrender value.

1. AsaDeathClaim The proceeds will be the amount of
insurance as described on page 2.

2. Upon Surrender The proceeds will be the cash
surrender value.

 

Owner and Beneficiary

Owner The Owner is shown on page 3 or in a rider
attached to this policy. While the Insured js alive, the Owner
may exercise every right and option and receive every benefit
provided by this policy. These rights, however, are subject to
the written consent of any irrevocable beneficiary.

Beneficiary The beneficiary is as stated in the application
unless later changed.

Change of Owner or Beneficiary While the Insured is
alive, the Owner or beneficiary may be changed. Any change
will take effect as of the date the request is signed. The
Insured need not be living when the requested change is
recorded at our Home Office.

Page 5

Death of the Owner or Beneficiary {fan Owner other than
the Insured dies while the Insured is living, all rights and
options of the Owner will belong to the Owner's executors or
administrators unless otherwise provided. Unless otherwise
provided, the interest of any beneficiary, including any
irrevocable beneficiary, who dies before the Insured, will
belong to the Owner.

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Policy Number JP5517504
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General Provisions

The Contract This policy is issued in consideration of the
application and payment of the initial premium. This policy,
the attached copy of the application and/or endorsements,
and any attached riders form the entire contract. Statements
in the application are, in the absence of fraud, considered to
be representations and not warranties. No statement will be
used to void this policy or be used to deny a claim unless it is
contained in the application.

Policy Changes Only one of our authorized officers can
change the terms of this policy. A change must be in writing.

incontestability We will not contest this policy after it has
been in force during the Insured's lifetime for 2 years from
the effective date.

An increase in the Specified Amount will not be contested
after it has been in force during the Insured's lifetime for 2
years from its effective date.

Suicide {f the Insured, while sane or insane, commits
suicide within 2 years from the effective date, the amount
payable will be no more than the sum of the premiums paid
less any indebtedness and any partial surrenders.

lf the Insured, while sane or insane, commits suicide within 2
years from the effective date of an increase in the Specified
Amount, the amount payable under such increase will be the
sum of the monthly deductions for such increase.

Assignment You may assign this policy. We are not bound
by an assignment unless we receive notice of it at our Home
Office. Policy rights and benefits are subject to any
assignment. We are not obliged to see that an assignment is
valid or sufficient,

Misstatement of Age or Sex If the age or sex of the
Insured has been misstated, the amount of death benefit will
be adjusted to the amount which would have been provided
by the most recent cost of insurance deduction at the true
age and sex. The policy value will not be affected.

Compliance with the Internal Revenue Code This policy
is intended to qualify as life insurance under the Internal
Revenue Code, The death benefit provided by this policy is
intended to qualify for the Federal income tax exclusion. If at
any time the premium paid under the policy exceeds the
amount aliowable for such qualification, we will refund the
premium to you with interest within sixty days after the end of
the policy year in which the premium was received. If, for any
reason, we do not refund the excess premium within sixty
days after the end of such policy year, the excess premium
will be held in a separate deposit fund and credited with
interest until refunded to you. The interest rate used on any
refund or Credited to the separate deposit fund created by
this provision will be the current rate of interest we are paying
on this policy.

We also reserve the right to refuse to make any change in
the Specified Amount or the Death Benefit Option or any
other change if such change would cause this policy to fail to
qualify as life insurance under the Internal Revenue Code.

Modified Endowment This policy will be allowed to
become a modified endowment contract under the Inter
Revenue Code only with your consent, Otherwise, ifata |
time the premiums paid under the policy exceed the fimi
avoiding modified endowment contract status, the exces
premium will be refunded to you with interest within sixty
after the end of the policy year in which the premium wa:
received. If, for any reason, we do not refund the excess
premium within sixty days after the end of such policy ye;
the excess premium will be held in a separate deposit fu
and credited with interest until refunded to you. The inter
tate used on any refund or credited to the separate depo
fund created by this provision will be the current rate of
interest we are paying on this policy.

Changes in Insurance Coverage Upon request, the
insurance coverage may be changed at any time after th
first policy year and prior to the attained age 86 of the
Insured. Changes that result in a decrease in the amounl
payable at death may be made prior te the attained age «
of the Insured. The changes which can be made are:

4. increase in the Specified Amount,
2. decrease in the Specified Amount,
3. change in the existing Death Benefit Option.

If a change would result in an increase in the amount
payable at death, such change will be subject to satisfact
evidence of insurability. The Specified Amount may not b
decreased below the minimum shown on page 4. A
decrease in the Specified Amount will apply first against
insurance with the most recent effective date, with the Init
Specified Amount being last to be decreased, A change ¥
be effective on the monthly anniversary day on or next
following the date of approval by us of the request for the
change, unless another date acceptable to us is requeste

lf the policy is in force ai the attained age 100 of the Insun
the Specified Amount will automatically be set equal to th
greater of the Specified Amount or the cash surrender val
and the Death Benefit Option will be set to Option |. The
Death Benefit Option may not be changed after that date:
no further premium payments may be made. Monthly
deductions for all policy months after that date will not apt

Settlement Payment or settlement under this policy will
made at our Home Office. At the time of settlement, any
policy indebtedness will be deducted. At the time of ;
settlement, we reserve the right to require surrender of tht
policy.

Deferment Except for the purpose of paying premiums t
us, payment of cash values or making a policy loan may b
deferred, The deferral may not be more than 6 months fro
the date you request the cash value or loan.

Page 6

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Premium Provisions

Premium Payment The initial premium is due on the policy
date and is payable on or before defivery of this policy.
Thereafter, premiums may be paid at any time and in any
amount, subject to the following conditions, unless otherwise
agreed to in writing by us.

The amount of each premium must be at least $25.

We reserve the right to limit the amount of premiums that we
will accept in any policy year to an amount equal to the
guideline level premium determined for your policy under the
Internal Revenue Code unless a larger amount is necessary
to prevent the termination of the policy on or before the end

of the policy year.

Your premiums are payable in United States currency. They
are payable at our Home Office, at one of our authorized
collection offices, or to an agent authorized to collect
premiums in exchange for a receipt signed by one of our
officers.

No Lapse Guarantee The no lapse monthly premium, the
no lapse guarantee period and the no lapse test are shown
on page 4. The no lapse monthly premium is due on each
monthly anniversary day during the no lapse guarantee
period. This policy will not terminate according to the grace
period provision during the no lapse guarantee period if the
no lapse guarantee provision is in effect and the no lapse test
is met.

The no lapse guarantee provision will cease to be in effect on
the earliest of the following dates:

4. the expiration of the no lapse guarantee period;

the effective date of an increase in Specified Amount;
the effective date of a change in Death Benefit Option;
the effective date of an added or increased benefit;
the policy terminates and is reinstated; or

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the continued payment of the no lapse monthly
premium would result in the policy failing to qualify as
life insurance under the Internal Revenue Code.

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Grace Period If on a monthly anniversary day the cash

‘surrender value is less than the monthly deduction due, a

grace period ot 60 days from that date will be allowed for the
payment of the minimum amount needed to continue the
policy. If the no lapse guarantee provision is in effect and the
no lapse test has been met, the grace period will not begin
and the policy will not be subject to termination under this
provision.

We will notify you and any assignee of the minimum amount
due at least 30 days before the end of the grace period. [f
the amount specified is not paid within the grace period, the
policy will terminate without value at the end of such period. If
the Insured dies within the grace period, the amount needed
to continue the palicy to the end of the policy month of death
will be deducted from the amount otherwise payable.

Reinstatement Application to reinstate this policy may be
made within 5 years after the date of termination provided the
policy has not been surrendered for its cash surrender value.

In addition to the application, reinstatement will require afl of
the following:

1. You must furnish evidence of insurability satisfactory to
us;

2. You must pay an amount sufficient to keep the policy
In force for at least 2 months;

3. You must pay or reinstate any indebtedness.

Reinstatement will be effective on the date we approve the
application unless another date acceptable to us is
requested.

We will not contest this policy for misrepresentations made in
the applications for reinstatement after the policy has been in
force during the lifetime of the Insured for 2 years from the
date of the last reinstatement.

The no lapse guarantee provision will not be in effect upon
reinstatement.

Premium Refund at Death Any premium paid after the
beginning of the policy month of death will be refunded as
part of the proceeds, unless you request otherwise prior to
such payment.

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Nonforfeiture Provisions

Policy Value On each monthly anniversary day, the policy
value will be (1) plus (2) plus (3) plus (4) minus (5), where

(1) is the policy value as of the preceding monthly
anniversary day minus the monthly deduction for the
month ending on the monthly anniversary day.

(2) is one month's interest on (1),

(3) is all net premiums received since the preceding
monthly anniversary day.

(4) is interest on (3) from the date the premium is received
to the end of the policy month.

(5) is the reduction in policy value caused by any partial

surrender since the preceding monthly anniversary day.

On any day other than a monthly anniversary day, the policy
value will be (1) minus (5) where

(1) _ is the policy value as of the preceding monthly
anniversary day minus the monthly deduction for the
currant policy month, with

(5) defined as above.

In addition, on surrender we will refund any premium
received since the preceding monthly anniversary day.

The policy value on the policy date, after payment of the
initial premium, will be the net premium.

Net Premium Each net premium will be computed by
multiplying each gross premium by the guaranteed net
premium factor shown on page 4. A higher net premium
factor may be applied as determined by us.

Interest Rate The guaranteed interest rate credited in the
calculations described above is shown on page 4. Interest in

excess of the guaranteed rate may be applied as determined

by us. Such interest is referred to in this policy as excess
interest. No excess interest will be credited on any policy
value heid as security for a policy loan.

Monthly Deduction The monthly deduction for a poticy
month will be computed as (1) plus (2) where

(1) is the cost of insurance and the cost of additional
benefits provided by rider for the policy month.

(2) is the sum of all administrative charges for the policy
and any attached riders shown on page 4 as being due
for the policy month.

If there is an increase in the Specified Amount, additional
charges may be in effect for the increase. If there is an
additional charge in effect for an increase in Specified
Amount, a new schedule of charges will be provided after
such increase,

Cost of Insurance The cost of insurance is determined on
a monthly basis as the cost of insurance rate for the month
multiplied by the number of thousands of net amount at risk
for the month. The net amount at risk for a menth is
computed as (1) minus (2) where

(1) is the death benefit for the month before reduction for
any indebtedness, discounted to the beginning of the
month at the guaranteed interest rate.

(2) is the policy value at the beginning of the month.

For months in which Death Benefit Option | is in effect, for the
purpose of allocating the cost of insurance between different
parts of the Specified Amount, the policy value will be
considered as part of the Initial Specified Amount. If such
value exceeds the Initial Specified Amount, any excess will be
considered part of the earliest addition to the Specified
Amount. This altocation will continue in order of all additions
to the Specified Amount untit all value is allocated.

Cost of Insurance Rates The monthly cost of insurance
rates are determined by us. Rates will be based on our
expectation of future mortality, interest, expenses, and
lapses. Any change in the monthly cost of insurance rates
used will be on a uniform basis for Insureds of the same rate
class. Rates will never be larger than the maximum rates
shown on page 11. The maximum rates are based on the
mortality table shown on page 4.

Continuation of Insurance This policy and all riders will
continue in force according to the terms as long as the cash
surrender value is sufficient to cover the monthly deduction. If
such value is not sufficient, the policy will terminate according
to the grace period provision. If premiums are discontinued
on any date, the value on that date will be used to provide
insurance under this provision.

Basis of Values Minimum policy values are based on the
mortality assumptions and interest rates shown on page 4.
The values tor this policy are at least equal to the minimum
required by law. A detailed statement of the method used to
determine policy values and reserves has been filed with the
state where this policy ts delivered.
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Nonforfeiture Provisions(Continued)

Surrender and Surrender Value Upon request, you may
surrender this policy and take its cash surrender value.
Surrender within 31 days after a policy anniversary date will
be treated as a surrender on that date.

Partial Surrender Upon request, you may make a partial
surrender of this policy. The partial surrender may be for any
amount equal to or greater than the Partial Surrender
Minimum Amount shown on page 4, not to exceed the cash
surrender value less $500.

When a partial surrender is made:

1. the policy value will be reduced by the amount of the
partial surrender, plus the Partial Surrender Fee shown
on page 4;

2. the death benefit will be reduced by the amount at Jeast
equal to the reduction in value. Such a reduction may be
produced without changing the Specified Amount. If not,
we will reduce the Specified Amount so that the
reduction in death benefit is equal to the reduction in
value. A partial surrender cannot be allowed if it would
reduce the Specified Amount below the minimum shown
on page 4.

Surrender Charges The charge for full surrender will be the
amount shown on Page 4 for the number of completed policy
months preceding surrender. There will be a partial charge if
there is a decrease in the Specified Amount while there is a
surrender charge in effect. If there is an increase in the
Specified Amount, an additional surrender charge may be in
effect for the increase. If there is an additional surrender
charge in effect for an increase in Specified Amount, a new
schedule of surrender charges will be provided after such
increase.

Surrender charges are computed based on the number of
thousands of Specified Amount. The partial charge for a
decrease in Specified Amount will be based on the per
thousand charge for the number of thousands of the
decrease. A decrease in Specified Amount will apply first
against insurance with the most recent effective date.

A new schedule of surrender charges will be provided after a
change in such charges.

 

Annual Report

We will provide you an Annual Report. This report will show
the activity of the policy for the past year. It will list premiums
paid, expenses charged, monthly deductions, interest

credited, and partial surrenders. It will show the then current

death benefit and values and the loan balance outstanding. It

will also provide a projection of future values of the policy
using the then current values and both guaranteed and
current rates of interest and mortality.

Upon request, we will provide, without charge, an illustration
showing projected policy values based on guaranteed as
well as current mortality and interest factors. The first
illustration in any policy year will be furnished free of charge.
Any iltustration after the first in any policy year may be
obtained for a fee of $10.00.

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Polley Number JP5517504
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Policy Loans

When Available A toan may be obtained by request when
this policy has a loan value. This policy will be the sole
security for the loan.

Amount Available The loan value at any time is the then
current policy value if the policy were surrendered on the
date of determination.

The maximum additional loan at any time is the loan value at
that time less:

1. any existing foan;
2. accrued interest on any existing loan; and

3. interest on the total outstanding loan to the end of the
policy year.

Loan Interest Interest on a policy loan is due and payable
on each policy anniversary. interest not paid when due will be
added to the loan and bear interest at the same rate.

The effective annual policy loan interest rate is shown on
page 4.

Loan Repayments You may repay all or part of a loan at
any time while this policy is in force. Each partial repayment
must be at least $25.

Every payment to us on this policy will be considered a
premium payment unless clearly marked for loan repayment
of for payment of loan interest.

Preferred Loan Amounts Beginning with the earlier of the
attained age 100 of the Insured or the 21st policy year, all
Joan balances will be considered to be preferred loan
amounts.

Maximum Loan Amount If the indebtedness at any time
equals or exceeds the loan value, this policy will terminate
without value 31 days after notice has been mailed to your
last known address and to that of any assignee of record.

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Table of Guaranteed Maximum

Basis of Caiculation
Non-Tobacco-User:

1980 CSO Male Nonsmoker Table

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cost of Insurance Rates - Male Tobacco-User: 1980 CSO Male Smoker Table
Attained Monthly Rate Attained Monthly Rate Attained Monthly Rate Attained Monthty Rate
__Age Per $1,000 Age Per $1,000 Age Per $1,000 Age Per $1,000
Non- Tobacco- Non- Tobacco- Non- Tobacco- Non- Tobacco-
Tobacco-User User Tobacco-User User Tobacco-User User Tobacco-User User
Q 34912 34912 25 12677 17854 50 41026 80082 75 §.06274 7.31730
1 08922 08922 26 12343 17353 54 44713 87496 76 5.62182 7.99178
2 08254 08254 27 12176 17186 52 48989 .95760 77? 6.21387 8.68058
3 08171 ,08t71 28 .12009 17019 53 SOT t 1.05216 78 6.83324 9.37272
4 07921 07921 29 .12009 17186 54 59311 1.15868 79 7.49616 10.08913
5 .07504 .07504 30 . 12008 17820 55 85444 1.27212 80 8.22066 10,86205
6 07170 07170 31 12260 181405 56 72255 1.39507 81 9.05445 11.71251
7 06670 .06670 32 12510 18689 57 .79493 4.52246 82 9.99708 12.66752
8 .06336 06336 33 . 12928 19608 58 87327 1.65858 83 11.07332 13,73779
9 .06169 06169 34 13428 20694 59 96182 4.80005 84 12.26712 14.88656
10 06086 ,.06086 35 14096 .21948 & 1.06061 1.95717 && 13.55591 16,07811
+n] 06419 06419 36 14764 23452 61 4.17052 2.13432 86 14.91787 17.27457
12 .07087 07087 37 15683 25375 62 1.290585 2.33420 87 16.34412 18.45789
13 08254 08254 38 16685 27549 63 1.43921 2.56130 88 17,808.44 19.76999
14 09589 .09589 39 17854 30059 64 1.60155 2.81241 89 19,33267 21 .08692
15 10758 13762 40 .19107 32804 65 1.78129 3.08515 90 20.94168 22.42853
16 11926 15599 Al 20611 36252 66 1.97513 3,37018 91 2.68794 23,82284
17 12844 17102 42 22115 39686 67 2.18574 3.67025 92 2A5STS7T 25.33222
18 43345 18021 43 .23870 43623 68 2.41244 3.98026 93 26.76407 27.31458
19 13846 18856 44 29626 AT731 69 2.66044 431179 94 29.63735 29.94249
20 14013 49274 45 ert? 52428 70 2.94130 4.67927 be) 33,93112 33,93112
21 -13929 19444 46 29975 57128 71 3.31274 5.08855 96 41,27938 41.27938
22 13679 19191 47 32401 62251 72 3.63093 5.55642 97 5603986 56.03986
23 13428 18856 48 .34996 .67630 73 4.05839 6.08662 98 83,33333 83.33333
24 13094 18439 49 37927 73685 74 4.54126 6.66862 99 8333333 83.33333
Table of Guarant i Basis of Cafculation
u nteed Maximum Non-Tobacco User: 1980 CSO Female Nonsmoker Table
Cost of Insurance Rates - Female Tobacco-User: 1980 CSO Female Smoker Table
Attained Monthly Rate Attained Monthly Rate Attained Monthly Rate Attained Monthly Rate
Age Per $1,000 Age Per $1,000 Age Per $1,000 Age Per $1,000
Non- Tobacco- Non- Tobacce- Non- Tobacco- Non- Tobacec
Tobacco-User User Tabacco-User User Tobacco-User User Tobacco-User User
0 24121 24121 25 .09089 10758 SO 34996 34694 75 3.17455 3.9B81€
1 07253 07253 26 09339 11175 51 37592 88556 76 3.58552 4.45292
2 06753 06753 27 .08506 11508 §2 40523 62923 77 4.02941 4.94366
3 06586 06586 28 09756 11842 §3 43959 68050 78 4.50679 §,4579€
4 06419 06419 29 10007 4234 34 47480 13264 79 5.03160 6.01271
5 06336 06336 30 10340 42928 55 51254 78735 80 5.62720 6.6322
6 06086 .06086 31 10891 43428 56 55114 84209 81 6.31509 7.33835
7 .06002 06002 32 .10924 14013 57 58975 89434 82 7.11783 8.15276
8 05836 .05836 33 11258 44597 58 62675 94326 83 8.05280 9.08725
i) 05752 05752 34 11842 15516 59 66621 99389 84 9.10225 10.1993¢
10 05669 05669 35 .12260 16184 60 71246 1.04963 85 10.26879 11.3266
11 05752 .05752 36 13011 17436 61 76715 1.12147 86 11,53529 12.6272
12 06002 .96002 37 .43929 49024 62 83619 4.20861 87 42.91426 13.9011¢
13 .06253 06253 38 14931 20778 63 82304 1.32636 838 14.39631 15.3666:
{4 06670 08670 39 16106 £22784 64 1.02598 1.45789 89 16.00739 16.7857
15 07003 .07837 40 17383 25041 65 1.13753 1.60580 90 17.75602 48.4526
16 .07337 08254 41 -18856 27800 66 1.25772 1.75230 a1 19.68512 20.2692
17 .07670 08672 42 .20360 ,30393 67 1.37980 1.90505 92 2186462 22.3007
18 .07921 08089 eB 21864 .33071 68 1.50291 2.04365 93 23.29047 24.6682
19 08171 08422 44 .23369 35750 69 1.63474 2.19945 94 2767145 27,8714
20 08421 09673 4 .24957 38513 70 1.78726 2.36513 95 32,32212 32,3221
21 08505 09840 46 .26629 41361 71 1.97000 2.58026 96 40,04678 40,0467
22 .08672 10090 47 .28469 44378 72 2.19689 2.84786 97 55.15920 55.1592
23 .08755 10257 48 30477 47480 73 2.47434 3.17541 98 83.33333 83,3332 |
24 .09005 10591 48 32569 50834 74 2.80204 3.55833 99 83,33333 83.3332
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Policy Number

JP5517804

 
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settlement Options

nstead of payment in one sum, all or part of the proceeds
nay be applied under one or more of the settlement options
ihown below. The fight to elect and payments under a
settlement option are subject to the conditions stated in this
srovision.

fou may make, change or revoke an election at any time
vhile the Insured is alive. Following the death of the Insured,
he beneficiary may elect an option if you have not elected
ne or if proceeds are payable in one sum. A beneficiary may
nake a change in payment under a settlement option only if
you provided for it in your election.

A change of beneficiary automatically cancels a previous
slection of a settlement option.

if this policy is assigned, the assignee's portion of proceeds
vill be paid in one sum. Any balance of proceeds may be
applied under settlement options.

Proceéds placed under a settlement option for the benefit of
any beneficiary must be at least $2,500 and payments to any
payee must be at least $25.

if proceeds are payable to an executor, administrator,
trustee, corporation, partnership or association, payment will
be in ane sum unless we agree to payment under a
settlement option.

Options

1. income for a Fixed Period Monthly installments will be
paid for a period agreed upon.

2. Life Income Monthly installments will be paid as elected
under a, b or c:

a. Life Only Installments will be paid for as long as the
payee lives.

b. Guaranteed Period Installments wil! be paid during
the guaranteed period. After that, installments will be
paid for as long as the payee fives.

c. Instaliment Refund Installments will be paid until the
sum of payments equals all proceeds retained. After
that, installments will be paid for as long as the payee
lives.

The amount of each installment is determined by the payee's
sex and age nearest birthday when payments begin.

Page 13

3. Interest Fora period agreed upon, proceeds will be held
by us and will earn interest at a rate we declare annually.
This rate will be at least the rate shown on page 14.

During the period agreed upon:
a. Interest will be paid monthly to the payee; or
b. Interest can be allowed to accumulate.

At any time during the period agreed upon, proceeds may be
placed under one of the other settlement options.

4. Income of Fixed Amount Monthly installments will be
paid in an amount agreed upon until proceeds and interest
are exhausted.

5. Annuity Settlement Option Instead of any other
settlement option, the proceeds may be used to provide an
income based on our Single Premium Immediate Annuity
rates and rules in effect on the date the proceeds are
payable. The amount of each installment will be adjusted to
make it payable at the beginning of the payment period.

The amount of each instaliment provided by the proceeds
will be 103% of the installment which normally would be paid
under our Single Premium Immediate Annuity.

The amount of each installment based on our Single
Premium Immediate Annuity is determined by the payee's
sex and age nearest birthday when installments begin.

When Instaliment Payments Begin Interest under option 3
will be paid at the end of each payment period. Payments
under other options are made at the beginning of each
payment period, Payment periods begin on the date
proceeds become due and payable.

Guaranteed and Excess Interest Payments are calculated
at the guaranteed interest rate as shown on page 14. When
we declare more than that rate, the excess will be paid as
part of each payment under options 1, 3 and 4 and during the
guaranteed and refund periods under option 2.

Protection Against Creditors Funds held and payments
made under settlement options shall not be assigned and, to
the extent permitted by law, shall not be subject to levy,
attachment or other judicial process.

Other Conditions and Provisions Before payments begin
under a settlement option, this policy must be exchanged for
a supplementary contract expressing the terms of setttement.

Untess otherwise provided in the supplementary contract, the
present value of any payments due after the death of the last
surviving payee wilt be paid to that payee's estate.

Any indebtedness will decrease the amount placed under a
settlement option unless the indebtedness is paid before
installment payments begin.

F3600

Policy Number JP5517504

 

 

 
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Settlement Option Tables

 

 

Monthly Installments per $1,000 of Proceeds Guaranteed Basis of Calculation for Settlement Option Installments :
Options 1,3 and 4: 3% interest compounded annually.
Options 2 and 5: 3% interest compounded annually and the
Option 1 - Income for Fixed Period Progressive Annuity Table.
No. of Monthly No. of Monthly No. of Monthly No. of Monthly No. of Monthly No. of Mon
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2 42,88 7 13.16 12 8.24 17 6.23 22 §,15 27 4.
3 28.99 8 41.68 13 7.71 18 5,96 23 4.99 28 4
4 22.06 9 10.53 14 7,26 19 ' 6.73 24 4.84 29 4
5 17.91 10 9.61 15 6.87 20 5.51 26 47 30 4:

 

Option 2 - Life Income

Age of Payee Life Guaranteed Period Instm't Age of Payee Life Guaranteed Period Ir
Male Female Only 5Yrs. 10Yrs. 15 Yrs. 20 Yrs. Refund Male Female Only 5Yrs. 10Yrs. 15 Yrs. 20 Yrs. Re

 

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17 21 3.00 3.01 3.00 2.99 2.98 2.99 53 57 4.76 474 469 «4.59 4.44
18 22 3.01 3.03 3.02 3.01 3.00 3.01 54 58 487 4.85 4.79 468 451
19 23 3.03 3.05 3.04 3.03 3.02 3.02 55 59 4.99 497 4.90 4.77 458
20 24 3.06 3.07 3.06 3.06 3.04 3.05 56 6 542 509 5.01 486 465
21 25 3.08 3.10 3.09 3.08 3.07 3.07 87 61 §.25 5.23 5.13 4.96 4.72
22 26 3.10 3.12 3.11 3.10 3.09 3.09 58 62 5.40 5.37 5.25 506 «479s
23 27 3.42 3.14 3.13 3.12 3.11 3.14 59 63 5.56 5.52 5.39 516 485 {'
24 28 3.15 3.17 3.16 3.15 3.14 3.13 60 64 5.72 5.68 5.52 5.27 4.92 t
25 29 3.18 3,19 3.18 3.17 3.16 3.16 61 65 5.90 5.84 5.67 5.37 4.99 t
26 30 3.20 3.22 3.21 3,20 3.19 3.18 62 66 6.09 6.02 §.82 548 5.05 f
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Option 3 - Interest Installments Option 4 - income of Fixed Amount
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6.67 15 6 15.00 6 0 35.00
Annually, 30.00 7.00 14 7 1667 5 4 49,00 2 1
7.50 13 5 17.50 5 1 45.00 1 10
8.00 12 5 20.00 4 5 50.00 ‘ 8
9.00 10 9 25,00 3 6

 

At the end of the periods shown in Option 4 there is
often a small remaining balance which will also be
paid.

Page 14
Case 2:18-cv-05529-GJP  Document1 Filed 12/21/18 Page 51 of 146

Please check appropriate underwriting company:
ij iF) JEFFERSON PILOT 1 Jefferson-Pilot Life Insurance Company, PO Box 21008, Greensboro, NG 27420-1008
Wf FINANCIAL C) Jefferson Pilot Financial Insurance Company, PO Box 515, Concord, NH 03302-0515

AMENDMENT TO APPLICATION FOR INSURANCE

Policy No. JP§517504

The — hereby amends his or her application for insurance dated 05/4 0/2005 on the life of

We are authorized to make the following alterations in or additions to the application and to issue a policy as may
be necessary to conform to said application as modified herein. | hereby accept the policy as Bsued.

The undersigned hereby makes the same representations, statements, answers and agreements to Jefferson Pilot
Financial Life Insurance Company as were made on the Medical Application Part Il, dated 12/2/04, a copy of which
is attached to and made part of this policy.

| certify that all the statements and answers on ine Insurance continuation are full, completed
ahd true to the best of my knowledge and belief, and are made of the application # JP5517504 to Jefferson
Pilot Financial Insurance Company. A copy of ic TT ve insurance continuation is attached and made
part of this policy.

The undersigned hereby makes the same representations, statements and agreements to Jefferson Pilot Financial

Life Insurance Company as were made on Exhibit #1 dated 12/31/04, a copy of which is attached ta and made part
of this policy.

The application for insurance was signed on May 5, 2005 in Los Angeles, Califamia

 

 

 

 

 

Dated at this day of 2

Signature of Proposed insured Signature of Proposed Insured

(Parent or Guardian if under 14 years of age) (Parent or Guardian if under 14 years of age)
Signature of Owner (if other than Proposed Insured) Signature of Owner (if other than Proposed Insured)
Signature of Witness Signature of Spouse (if coverage applied for)
BUJF-O1008

Page f of
201

 
Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 52 of 146

Please check appropriate underwriting company:

ij E) JEFFERSON PrLoT 8! Jefferson-Pilot Life Insurance Company, PO Box 21008, Greensboro, NG 27420-1008
mf FINANCIAL C Jefferson Pilot Financial Insurance Company, PO Box 515, Concord, NH 03302-0515

AMENDMENT TO APPLICATION FOR INSURANCE

Policy No. JP551 7504

The — hereby amends his or her application for insurance dated 05/10/2005 on the life of

We are authorlzed to make the following alterations in or additions to the application and to issue a policy as may
be necessary to conform to said application as modified herein. | hereby accept the polcy as issued.

Question 30: This policy is issued with Terminal Illness Accelerated Benefit Rider

Question 35: The Tax bdentification Number for the owner, ee

Question 36: The relationship of the owner, iii (s trust

Question 39: The Tax Identification Number for the ben ofciy,

Question 40: The relationship of berets,

Dated at this day of 20

 

Signature of Proposed Insured

Signature of Proposed Insured
(Parent or Guardian If under 14 years of age)

(Parent or Guardian If under 14 years of age)

 

Signature of Owner (if other than Proposed Insured) Signature of Owner (if other than Proposed insured)

Signature of Witness Signature of Spouse (if coverage applied for)

BJF-O1008

Page 1 of 4
21
Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 53 of 146

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Pieune cheak appropriate underwriting company!

13 JEFFERSON FILOT ©) SaPforwca-F let Mlle kmennces Companys Sendce Offs: PO Glos 21.008, Greaneboto, NC 27420-3008
FINANCIAL Q

Ottloe: PO fos 83.5, Concorl, Nii G2 Otis

Qheeltetee tives 04a “te Concary’}
APPLICATION FOR LIFE INSURANCE — PART !

 

i, PROPOSED INSURED _
i. Name of Proposed insured Gi Male C) Femuls

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2, Date of Bit

 

a ecpone 13. Citen pf (Couetry)

D, PROPOSED ADDITIONAL INSURED - Colnpiete for Survivorship Life Polley of Term Rider on Spoeise/Cther Insured far
indihuat Life Polly,

44. Name of Proposed insured Ci Mala Ciremale | 15. Date of Birth
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Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 54 of 146 -

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Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 55 of 146

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Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 56 of 146

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Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 57 of 146

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Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 58 of 146

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Case 2:18-cv-05529-GJP Document 1.. Filed 12/21/18 Page 59 of 146

Hoos /oa0

AQREEMENT AND AOXNGWLEDQEMENT

|, the Ownsy, declare that my tax dentifiogtion or social sanuity number ax shown |s correct | etna cortify that ( em not subject to
backup withholding. ,
Each ef the Undersigned declares that:

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‘This Application consists of; m) Part | Applloaton; bj Pert It Madica! Apnitoation, ff required; c) any amendments to the
uppivation(s) attached thereto: and tf) any supatements, ail of whlch are required by the Sompary forthe plan, ermourt and
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Lives otherwise provided by the Conditional Receipt, the Contpany wil! have ng lalxtly under this cpptication uniwss and
unit: 4) it hes been (og etvad and approved by ths Compary at ts Sécvics Oftior; b) ths nollcy hes bean Issued Bnd delivered
to the policyownar; ¢] the first premium tas been nald to and socented by tha Company; and d} et tire tene of Gallvery and
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Compeny’s tequireinents,

Corrections, sqliitions or changes to this apoficntion maybe meade bythe Company. Any such ateanyges wit be shows under "Serdice
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LADKAOALEDGE receipt of tha Notices on the Metics! formation Bureau and Pols Credit Raporting Act.

LWAVE READ, ov have had mead to me, dhe completed Apgitoation for Life Insucanoe Gafore sigiing below, Ali vusternents and
answers {f\ this application are correotly recorded, and are fall, comuvats and tue, | UNDERSTAND that any false stromans
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STATE DECLOSURES

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TO BE COMPLETED BY AGENT O8LY
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Ho replacement ts Involved, | certify that anly company apnroved salns materials wire used in this sais and vest copies at
W] axles mataiteds were left with the appdeant.
| dectare that | asked the Proposed insureds} each question on the application, Tha enawers tave been recorded by me
axsotiy a8 stated and ] know of nothing affecting ths Insusabiity of the Proposed Insured{s) which is not fully euoordad In
this application,
{ dootsre that | have socurataly anowared any questions contained in tre Agent's Heport oompinted by me in connadion with
tha application,
Did you anc the Proposed ingured{s) on thu date of ppplostian? 5 Yes TNo (if not seers, an caanination is required.)
\ verified tha Owner/Appiioant’s dertity by wawing the ind)iduel's photograpt ona dtver's Goanuse, pesepos ar other ofickal
Gotu nt and heve transoribad Nie sumber of such Identification below, fappticant is & business or trust ently, \wewad -
Gocumentation confirrring the erty’ layal slatus und stale of formation,

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Page 6 of &

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AUTHORIZATION

Each of the Undersigned declares that:

| authorize any lloensed physician, medical practitioner, hospital, clinic or any other medically
related facility, Insurance support organizations, Insurance company, Medicat Information
Bureau (MIB), consumer reporting agency, employay, financial source ar govemment agency
that has any records or knowledge_of:

Proposed insured/Patient
Date of Birth
Proposed Additional Insured/Patient

Date of Birth
or the propased Insured’s heaith, Including but not limited to transaction records, employment

racords, financlal records, and complete medical racards (Including information regarding

Insurance, demographics, referral documants and records from other facilities) or If other,

Indicate here: . ~~
to give all such Infonnation to JeffersonPilot Life Insurance Company or Jefferson Pilot i
Financial Insurance Company (the Company}, their licensed reprasamtatives and/or thelr

reinsurers, MediConnact.nat Ino, ar if other, indicate here: GiS

| understand that an authorization for release or disclosure of psychotherapy notes may nat be
combined with an authorization for releage or disclosure of any other information (a separate
Authorization Page must be completed for release or disclosure of psychotherapy notes).

} understand that the Information obtained may be used by the Company to determine
eligibiitty for insurance, or to administer my coverage. The Company may not give tha
information te any person or entity except: 1) & retnsurer, or other insurers to whom | have
applied or may apply; 2) MIB; or 3) any other person or antity who performs business or
legal services in connection with the administration of my Insurance coverage. | understand
that some of these people or entitles may not be covered by federal or state privacy
regulations and that the Information they receive may be redisclosed, however the Company
contractually requires them to protect the information we disclosa to them. information
may ba disclosed as allowed by law or regulation.

| have received a Privacy Practices Notice which details the method | must uge to exercise
my right to acceas, correct, and amend any information gathered about me or my children
which relates to this application. | understand that | can provide written revacation of this |
Authorization to the Company at any tima, except: 1} If the Company has taken action In
reliance on the Authorization; or 2) the Company is using the Authorization in connection

with a contestable claim under my policy.

This fs not authortzation to release HIV-related Information unless on HIV Consent Form

with authorization for optional retease of information to my personal physician has been

algned by ma.

 
 
 

 

 

 

 

Pua 7 A
Wh 7Se2 (7/04) a0/08
Case 2:18-cv-05529-GJP Document1. Filed 12/21/18 Page 61 of 146

05/09/2005 (2:38 FAX 011/036

AUTHORIZATION - OOXTINUED

{ undwratand that If | refuse to eign this authorization to ologse my comets medical
record, the Compeny may not ba able to process my eppiiontion.

| agree thet 8 Cony ofthis authorization shall be an valid es te original and thia authortzntion
ahail be vai for 24 months from tne date shown below. | may have 8 copy upon request.

[1 | elect to be Interviewed Hf an lnvectigetive Consumer Report is prepared,

@anttowr sEonee
..  o

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APPLIGAILS TO VASUAMLE LIFE OMY
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IN Gb Medical Examination Form

O) RetisSrar Lite insurance Company, 30 Washington Avonae South, Minnospols, MN 55401

0) Security-Conmentiont Life lasurence Company, 2 Sacurily Ore, Avon, CT 06061-4237

& Security Ute of Dewar insurance Company, 1290 Brosiwey, Denver, CO 80203-5299

tC) Southlend tie insurance Company, Aanta, GA-Adminisiratve Offiew 1280 Broudyvay, Danves, 00 80203-5898

 
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- Medical Examiner's Report

Give further details needed for carificat ace at botton 0,

 
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Accelerated Benefits Rider

Rider forming a part of the policy to which attached.

Benefit

We will pay you a portion of the death benefit of the policy
upon occurrence of one of the Qualifying Events shown
below while the policy and this rider are in force.

The portion of the death benefit available under this rider for
a Qualifying Event will be the applicable benefit percentage
for that event applied to the death benefit of the base policy
only, not including the Rider Specified Amount of any in
force Additional Specified Amount Rider attached to the
policy.

In no event, however, will the rider benefit paid be greater
than: ,

(1) $250,000 in total for all Qualifying Events; and
(2) $25,000 in total for all Qualifying Event (3).

An administrative charge, not to exceed $300, will be
deducted from any benefit payable under this rider.

The maximum amount available on ali policies with an
Accelerated Benefits Rider in force with us is $250,000 per
insured,

Qualifying Events
Each of the following is a Qualifying Event:

(1) The Insured’s life expectancy is reduced to less than 6
months;

(2) The Insured is confined to an eligible nursing home for
the balance of life; or

(3) The Insured experiences a covered catastrophic health
condition. Covered catastrophic health conditions are:
(a) heart attack;
(b) stroke;
(c) major organ transplant, or
(d) the diagnosis for the first time of:
(i) ‘Wife threatening cancer;
(ii) end stage renal failure;
(ii) permanent paralysis; or
(iv) Alzheimer’s Disease.

Benefit Percentages

The benefit percentages are 50% for Qualifying Event (1),
40% for Qualifying Event (2), and 5% for Qualifying Event
(3). \f the insured experiences more than one covered
catastrophic health condition, only 5% of the death benefit,
subject to the $25,000 maximum, will be paid for all covered
catastrophic health conditions under Qualifying Event (3).

Catastrophic Health Conditions Definitions

Heart Attack (Myocardial Infarction) - The death of a
portion of the heart muscle, as a result of inadequate blood
supply to the relevant area. This rider will not cover angina
or the chance finding of EKG changes suggestive of a
previous heart attack.

J-387

 

_with all tax matters, you should consult your personal

Benefits paid under this rider may be taxable. If so,
you or your beneficiary may incur a tax obligation. As

 

tax advisor to assess the impact of this benefit.

Stroke — Cerebrovascular accident or infarction (death) of
brain issue caused by hemorrhage, embolism or
thrombosis producing measurable, neurological deficit
persisting for at least 30 days following the occurrence of
the stroke. This rider will not cover Transient Ischemic
Attacks.

Major Organ Transplant ~ The receipt by transplant of any
af the following organs or tissues: heart, liver, lung or bone
marrow when such receipt is necessary because of a life-
threatening situation,

Life Threatening Cancer — Cancer as manifested by the
uncontrolled growth and spread of mafignant celts including
tumors and malignant melanomas which have spread
through the epidermis. This rider will nat cover benign
turnors or polyps, Stage A prostate cancer, carcinoma in situ
and any skin cancer,

End Stage Renal Failure — Chronic irreversible failure of
both the kidneys which requires the undergoing of reguiar
dialysis or transplant.

Permanent Paralysis — Any permanent paralysis of two or
more limbs, paraplegia or quadriplegia, which has existed
continuously for 180 days since the paratysis began.

Alzheimer's Disease — A definitive diagnosis of Alzheimer's
Disease by a Physician who is a certified Neurologist
supported by medical evidence that the Insured exhibits the
loss of intellectual capacity resulting in the impairment of
memory and judgement such that permanent daily personal
supervision is required.

Qualifying Event Certification

Before any benefit can be paid under this rider, you must
furnish evidence satistactory to us. Such evidence must be
in the form of a certification of the Insured’s medical
condition from a licensed physician. The certification must
state that in the physician's opinion:

1. The Insured's life expectancy has been reduced to less
than 6 months;

2. Due to a medica condition, the Insured will be confined
to an eligible nursing home for the batance of life; or

3. The Insured has experienced one of the covered
catastrophic health conditions.

An eligible nursing home is an institution or special nursing
unit of a hospital which meets at least one of the following
requirements:

4. tis Medicare approved as a provider of skilled
nursing care services;

2. Itis licensed as a skilled nursing home, an
intermediate care facility or a hospice facility by the
state in which it is located; or

Jefferson-Pilot

Life Insurance Company
Policy Number JP5517504
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3, It meets all requirements listed below:

a. itis licensed as a nursing home by the state in
which it is located:

b. _ Its main function is to provide skilled,
intermediate, or custodial nursing care,

c. tis engaged in providing continuous room and
board accommodations to 3 or more persons;

d. {tis under the supervision of a Registered Nurse;

It maintains a daily medical record of each patient;
and

f. tt maintains control and records for all
medications dispensed.

Institutions which primarily provide residential facilities are
not eligible nursing homes.

Further Medical Exams

In regard to any Qualifying Event, in addition to the
requirement that a written diagnosis or staiement be
provided by the Insured’s physician, we may atso require, at
our expense, an examination of the Insured by a physician
we choose, or such other evidence we think is necessary. If
there is a difference of opinion between the Insured's
physician and our physician as to the Insured's condition,
expectation of life and/or expectation of staying in a nursing
home for the balance of life, we will require that a third
opinion be obtained from a physician acceptable to us and
to you. This opinion will be at our expense and will be
mutually binding.

Right to Exercise Rider Benefit
Your right to exercise the options of and receive payments
under this rider are conditioned on the following:

1. The policy must be in force other than under an
extended term nonforfeiture option on the date your
request for benefits is received in the Home Office;

2. The cash surrender value of the policy must be
sufficient to cover the monthly deductions for the poticy
for a period of five years following the payment of the
accelerated death benefit (accelerated benefit
continuation periad);

3. Your request must be made in writing, and

The policy must not be assigned except as security for
a policy loan.

Accelerated death benefits provided through the use of this
rider are made available to you on a voluntary basis. The
use of this rider is not meant to cause you to involuntarily
access proceeds, Therefore, you are not eligible for benefits
under this rder if:

4. You are required by law to use this benefit fo meet
the claims of creditors, whether in bankruptcy or
otherwise; of

2. You are required by a government agency to use this
benefit in order to apply for, obtain, or otherwise keep a
government benefit or entitlement.

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Payment of Rider Benefit \

The conditions for payment of the rider benefit are as
follows:

1. Any rider benefit paid will be first used to repay 2
portion of any outstanding indebtedness. The portion to:
be repaid will be determined by applying the applicable:
benefit percentage to the indebtedness as of the date -
the benefit is paid.

2. The remaining rider benefit will be paid to you in a lump
sum. Payments other than as a lump sum may be
made at your request in a manner mutually agreed
upon.

3. Ifa benefit less than the maximum is paid, the balance
of the maximurn benefit can be applied for at a jater 4
date,

4. The maximum benefit at any time will be (a) minus (b)
where:

a. __ is the lesser of the death benefit of the policy at
the time of the claim times the applicable benefit
percentage, or $250 ,000; and

b. _ is any rider benefit that has already been paid.

For example, if 5% of the death benefit has been paid due to
a covered catastrophic heatth condition, an additional 45%
(50% less 5%) could be claimed at a tater date if terminal
iliness is diagnosed.

Effect on Your Policy

The accelerated benefit paid plus accrued interest will be
treated as a lien against your policy. Access to the cash
value of your policy through policy loans, partial surrenders
or a full surrender will be limited. The amount available for
such usage will be the amount of cash value in excess of an +
amount determined by applying the applicable benefit
percentage to the cash value of your policy.

Following payment of the accelerated death benefit, a policy
loan or partial surrender that would reduce the cash
surrender vatue to an amount which is insufficient lo cover
the monthly deductions for the policy from the date of the
loan or partial surrender to the end of the accelerated
benefit continuation period will not be allowed,

Death proceeds as defined in the policy will be reduced by
the amount of the accelerated benefit paid plus accrued
interest.

If this policy contains an interest Rate provision, interest
credited on any value held as security for a lien under this
rider may be at a different rate than that used for other
value. Any benefits payable under other riders attached to
your policy will not be affected by any benefit paid under this
rider.

Repayment

You may repay all or part of the accelerated benefit at any
time while this rider is in force. Each partial repayment must
be at least $25 and clearly marked for repayment of the
accelerated benefit.

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nterest

Ne will charge interest on the amount of the accelerated
senefit. The interest accrues daily at the interest rate
ilescribed below. On the policy anniversary, the accrued
nterest will be added to the accelerated benefit and bear
nterest at the rate then in effect. Additional interest will not
accrue if the accelerated benefit plus accrued interest
2quals the death benefit.

nterest Rate

The interest rate on any lien will be determined by us. The
‘ate which applies to a policy year will be determined at
least 30 days before the beginning of that policy year. The
rate will not change during that year.

The interest rate on the portion of the lien which is equal fo
the policy value at the time you request the accelerated
benefit less any indebtedness will be the policy loan interest
rate,

The interest rate on the remaining portion of the lien will not
exceed the maximum rate permitted by law for policy loans.
This maximum rate is determined as follows:

The rate for a policy year will not be more than the higher of
the following:

4. The published monthly average (defined below) for
the calendar month ending 2 months before the date
on which the rate is determined; or

2. The rate used to compute the cash surrender values
under the policy for that year plus t percent.

The published monthly average referred to above is defined
as:

1. Moody's Corporate Bond Yield Average—Monthly
Average Corporates as published by Moody's Investors
Service, inc., or any successor thereto; or

2. Inthe event that Moody's Corporate Bond Yield
Average—-Monthly Average Corporates is no longer
published, a substantially similar average, established
by regulation, or other method, issued by the Insurance
Department of the state or other jurisdiction where this
policy is issued.

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A change from the rate being used for a policy year to a new
rate to be used for the next policy year will be made as
follows:

4. The rate will be decreased to be equa to or less than
the maximum rate if such maximum rate is at least “2%
lower than the rate being used.

2. The rate may be increased to be equal to of less than
the maximum rate if such maximum rate is at least 2%
higher than the rate being used.

if there is a fien in effect, we will notify you and any assignee
of record 30 days before each policy anniversary of any
increase in the rate for the next policy year. If a new lien is
requested, we will notify you and any assignee of the rate in
effect when the lien is made.

Claims
You must make written request for benefits under this rider.

General Provisions

This rider is subject to all of the applicable provisions of the
policy except for the provisions contained in this rider. This
rider will control in event of any conflict with the policy.

Termination
This rider will terminate:

4. Upon written request and return of the poficy for
. endorsement;

On surrender or other termination of the policy; or

3. Upon continuation of this policy under an extended
term nonforfeiture option.

Effective Date
The effective date of this rider is the policy date of the policy
unless a later date is shown below.

Ct XxC.h

Secretary

Polley Number JP5517504

 
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JEFFERSON-PILOT
LIFE INSURANCE COMPANY

Home Office: 100 North Greene Street
P.O. Box 21008
Greensboro, North Carolina 27420

When writing the Home Office, please give the policy
number, Insured’s full name and your address.
important Information

This policy is a valuable asset. Read it carefully and file it
with your other vatuable papers.

If you need any of the following services, contact our nearest
representative or our Home Office:

1. Information about this policy.

2. Preparation of claims papers, or other notices, elections
or requests.

3. Examination of any proposal that you lapse or surrender
this policy - this is for your own protection.

4. Additional life insurance service.

FLEXIBLE PREMIUM
ADJUSTABLE LIFE

Proceeds payable at death. Flexible premiums payable during lifetime of Insured. Policy values may increa

decrease as determined by declared interest and risk rates. Non-participating.

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EXHIBIT 3
 

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f j Li I col T —_LNCOLN NATIONAL LIFE INSURANCE COMPANY

- - PO BOX 26070
Financial Group® GREENSBORO, NC 27420

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02608 672305 **ttet#eweHeeeeeMIXED AADC 430
WELLS FARGO BANK NA

P.O, BOX 1450

NW6182

MINNEAPOLIS, MN 55485-1450

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Cj Lincoln

Financial Group®

 

The Lincaln National Life Insurance Company
PO Box 28070
Greensboro, NC 27420

September 12, 2016

WELLS FARGO BANK NA

P, 0. BOX 1450

NW6162

MINNEAPOLIS, MN 55485-1450

Re: IMPORTANT NOTIFICATION
Policy Number: JP5517504
Insured:

Dear WELLS FARGO BANK NA,
We are writing to provide you with important information regarding your life Insurance policy.

As described in your polley, each month the company deducts certain charges from the policy value, including
a charge for cost of insurance. For additional details about these charges, please refer to your annual
statement of account.

Beginning 10/17/2016 your policy's cost of insurance (CO)) rates will Increase.

We are operating in a challenging and changing environment as we continue to face nearly a decade of
persistently low interest rates, including recent historic lows, and volatile financial markets. Prudent
management of our business and monitoring of the external environment have been crucial to Lincoln's 110-
year track record of helping people secure their financial futures, and remains so today, This includes making
falr and responsible adjustments as necessary and appropriate to ensure we are providing value to our
customers while operating responsibly for the long-term.

You have options and we can help.

The best way to learn haw these COI changes will impact policy performance and to make an informed
decision on managing your policy is to request an inforce illustration. See the Frequently Asked Questions
(FAQ) section on the following page for more information.

We encourage you to contact your advisor to discuss options tallored to your financial needs, Life Insurance
plays an important role in helping secure your financial future, and your advisor is your advocate in analyzing
your specific situation and assisting you In preparing for the future.

Financial Representative(s):

PHILIP HILL

604 DEAN ST
WEST CHESTER, PA 19382-3301

Sincerely,
Your Life Customer Service Team
Lincoln Financial Group is the marketing name for Lincoln National Corporation and its affillates. The Lincoln Natlonal Life Insurance

Company, is domiciled in Fart Wayne, IN CRTNMAILH ee
LCN-1568804-081116 sa

020402608000
 

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C7} Lincoln

Financial Groupe

The Lincoln National Life Insurance Company
PO Box 26070
Greensboro, NC 27420

Frequently Asked Questions

1. Why are Cost of Insurance (COl) rates changing on my policy and what does that mean?
Cost of Insurance (COl) rates are based on certain cost factors, including mortality, interest,
expenses and lapses. Our future expectations for these cost factors have changed; therefore policy
COl rates have been adjusted to appropriately reflect those future expectations.

2. Are cost of insurance rates going up for all policies?
All policyholders holding the impacted products will have some form of COI adjustment. While the
majority of the rate changes are increases, some adjustments will be decreases, depending on future
expectations of policy cost factors.

3. How much are the COI rates changing?
The amount of the CO! rate change depends upon the product, underwriting class and duration. In no
instance will the revised COS rates exceed the guaranteed maximum COI rates indicated in the policy.
The best way to learn how these COI changes will impact policy performance Is to request an inforce
illustration.

An illustration is an example of how your policy might perform under certain conditions.

4, Under an EFT systematic (bank draft) payment arrangement, will premium payments
automatically adjust as a result of this change?
No, these are flexible premium products, and therefore you need to notify us if you decide to change
your systematic premium payments. A new EFT form is not required to change the premium amount,
unless the bank account is changing. You may call, email, or write to us to make an adjustment.

5. Will this impact any policy guarantees?
No. The policy guarantees under your policy will remain the same as prior to the change.

6. If{ have a COl increase, what are my options other than paying additional premiums?

Some options include:

* Continue to pay the current planned periodic premium. If the policy has sufficient cash value, it
can be maintained at the current specified amount. At some point premiums may need to be
increased in order to keep the policy in force (subject to IRS limits)

« Continue to pay the current planned periodic premium for a potentially shorter coverage period
and/or reduced policy cash value

* Reduce the specified amount (subject to any minimum amount or IRS rules) to the level
supported by your current premium

e Surrender the policy or Exchange for another product subject to underwriting

7. Are these COl rate changes permanent?
The changes are based upon our current expectations of future cost factors. As a prudent business
practice, we evaluate these expectations on an ongoing basis and it is possible our expectations will

change and we will adjust the rates in the future,
Lincoln Financial Group is the marketing name for Lincoln National Corporation and its affiliates, The Lincaln National Life Insurance
Company, is domiciled In Fort Wayne, IN CRTNMAILH Ese
LCN-1573817-081816 ies

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8. | don’t know who my advisor is. Where can | go to get my questions answered?
In the event you do not know who your advisor is or do not currently have an advisor, please feel free
to contact us.

9. How may | contact Lincoln for additional information or to request an illustration?
* Send inquiries using the attached form and the return envelope provided to the following address:

Include your policy number, full name, and daytime telephone number along with the specific
details related to your question ar request.

Lincoln National Life Insurance Company
PO BOX 26070
Greensboro, NC 27420-6070

e Email us at customersupport@lfg.com. Please include your policy number, full name, and
daytime telephone number along with the specific detalls of your request.
« Call us at 844-324-0297

Lincoin Financial Group Is the marketing name for Lincoln Nationa! Corporation and Its affillates, The Lincoln National Life insurance
Company, is domiciled in Fart Wayne, IN CRTNMAILH
LCN-1573817-081816

 

 
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~
Lin ‘ial Life Customer Service Contact Information
CO Mail: PO Box 26070, Greensboro, NC 27420
Financial Groupe Phone: 844-324-0287

Email: CustomerSuppert@LFG.com

The Lincoln National Life Insurance Company

Policy Request Form

 

General Information (Please type or print clearly. This section must be completed.)

Policy/Certificate No.; JP5517504 Send email requests to customersupport@lfg.com

 

Owner Information (|f Business Entity or Trust, list full legal name; Submit more pages as necessary.)

Full Legal Name (First, Middle, Last):

 

Owner's Mailing Address:

 

 

 

 

City: State: Zip:
Social Security Number/EIN*: Date of Birth:
Daytime Telephone Number: [1] Check here if new address

 

Email Address:

 

 

Insured Information (If different from Owner)

Full Legal Name (First, Middle, Last):

 

 

Change Billing Information
( Discontinue my automatic premium payments (After further review of your policy, you may resume your bank draft)

 

Illustrations —
If you would like to recelve a policy illustration, please check onc or more of the boxes below:

 

Iustration will be mailed to the address above unless an email is provided.

( As Is (Projection with current premium)

(1 Premium Search (Premium needed to carry policy to maturity)

C] Reduction/Solve (Decrease needed to carry policy to maturity and continue paying current premium)

 

Surrender/Tax

Consult your tax advisor for additional information, if needed.
Check the boxes if applicable:

[] Request Surrender form

Cl Request Cost Basis (Taxable gain based on policy values)

 

* The submission of a completed IRS Form W-9 may be required, Employer Identification Number for Trusts or Entities.
“The date the trust was established

Lincoin Financial Group Is the marketing name for Lincoln Natlonal Corporation and I{s affillates, Page 1 of 2
CS11561 8/16

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Authorization and Signatures
To ensure that this document has been signed properly, please refer to the Signature Requirements table.
| certify that the information on this form is complete and correct. (Submit more pages as necessaly.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Owner's/Trustee’s/Officer’s Signature Title*
Name (print or type) Date*
Owner's/Trustee’s/ Officer's Signature™* Title*
Name (print or type) Date*
Assignee/ Irrevocable Beneficiary Signature (if applicable) Title*
Name (print or type) Date”
* Record the “Date” for all signatures. Include the “Title” for corporametions, partnerships, or trusts,
“For multiple owner policies, provide additional signatures on a separate page.
Signature Requirements
Owner Signature(s) Required
individual(s) Signature of the Policyowner(s)
Power of Attorney (POA) Signature of POA with title. We require a copy of the POA document to be on file with Lincoln.

If the POA Is more than 3 years old, we require an affidavit that the POA is still current to
accompany the request. Signature Example: John Doe, Attorney-in-Fact for Jane Doe.

 

Conservator or Guardian

Signature of Conservator or Guardian with title. We require Letter(s) of Conservatorship or
Letters of Guardianship of the Estate to be on file with Lincoln.

 

Custodian of Minor

Signature of Custodian with title, We require a court order, or other documentation evidencing
an appointment as Custodian under a state Uniform Transfers [Gifts] to Minors Act, to be on file

with Lincoln.

 

Corporation, Bank or
Financial Institution

Signature of one officer with title, and a corporate resolution which names all officers authorized
to sign on behalf of the corporation; or two officer's signatures, with title, without corporate
resolution.

 

 

 

 

Pension Plan Signature of the Pension Plan Administrator and a copy of Plan documents naming the
Administrator.

Trust Signature of all trustee(s) with title along with the completed Certification of Trustee Powers form.

Partnership or LLC Signature of one general/managing partner with title and a copy of the Partnership agreement

for Partnerships OR one managing member's signature with title and a copy of the operating
agreement for LLCs.

 

 

Signed by an “X”

Signature notarized, if the signor is unable to sign and must sign with an "X”.

 

Stamped signatures

We will not knowingly accept a stamped signature.

 

All other interested parties

Contact customer service to verify signature(s) needed.

 

Titles

 

‘| If you are signing the form in any capacity other than as an individual an appropriate title is

 

 

required.

 

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Financial Group*

You're In Charge

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LIFE INSURANCE

     

ABBREVIATED Preview Edition Index

of the upcoming August 29, 2016,

Lincoln Leader Lincoln LifeGuarantee®
UL (2013)
09/12/16

Lincoin LifeGuarantee® UL (2013)
09/12/16 Policy Charges Update

The life insurance industry is operating in a challenging environment, notably
with pressure from historically low interest rates, making it increasingly
important for us to take the fair and responsible steps necessary to ensure

we both provide value to our policyholders and partners, and operate
responsibly for the long-term,

This includes taking prudent measures in managing interest rate-sensitive
products, while enhancing and expanding our broad portfolio of products
that are less interest rate sensitive. In response to the persistent low
interest rates, including the recent historic lows, there will be pricing
increases on the product effective 9/12/16.

While actions that impact customers are never a first course of action, this decision is consistent with our
philosophy of providing valuable solutions appropriately priced for market conditions.

Lincoln remains committed to the Life Insurance business, and will continue to provide a comprehensive Life

product portfolio with solutions that will help Lincoln and its advisors grow their businesses responsibly, and
provide your clients with innovative options that help secure their financial futures.

Product Actions
Premium increases of approximately 8-12% across all ages, underwriting classes, and funding patterns.

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Transition Guidelines

For approved states, there will be a transition period that begins September 12, 2016 and ends October 14,
2016. Any states not available at rollout will have a 30-day transition period from the date they become
available.

Formal applications signed, dated and received in good order in Lincoln’s home office on or before
October 14, 2016 will receive the Lincoln LifeGuarantee® UL (2013) - 02/08/16 pricing

Pending and issued business will also receive the Lincoln LifeGuarantee® UL (2013) - 02/08/16 pricing.

For placed business, normal internal replacement guidelines apply. Rewrites will not be allowed.

State Availability Charts will be updated on 9/12/16 to reflect the withdrawal date of the old rates.

Questions and Answers

1.

Question: What about cases already in underwriting?

Answer: lf a case has been submitted as an informal application or on a trial basis and Lincoln has not
yet received the formal application in-house, fully completed applications must be signed, dated and
received in good order (including the 1035 Policy Exchange Agreement/Absolute Assignment form if the
case is a 1035 Exchange) in Lincoln’s Home Office by the end of the transition period to qualify.

Question: Are there any circumstances under which the old rates will be available even if all
paperwork is not received?

Answer: Yes. There is one exception to the rule. Applications that have been signed by the
insured with the owner TBD, received in the Home Office by the end of the transition period but
Lincoln is still awaiting a trust to be set up as part of the normal course of business. The
applicant will still qualify. The only paperwork that Lincoln will not require at submission is the
executed trust documents with the trustee/owner signature which must be received prior to
issue.

Question: Once an application is received in good order in Lincoln’s Home Office by the end of the
transition period, can any changes be made to the application?

Answer: That depends upon the change being requested. Once an application has been received in
good order in the Home Office, Lincoln will:

e Not allow an increase to the face amount on the application on the same insured. However, in
.1035 Exchange situations where Lincoln received more premium than anticipated from the
losing carrier resulting in an increase in death benefit, if the death benefit is within reasonable
limits, Lincoln would allow.

e Not allow additional face amounts on a second policy using the same application.

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4. Question: What is required to meet the transition period requirements for LincXpress™™ Tele-App

Cases?

Answer: In lieu of a formal signed application, a complete ticket and required solicitation forms must be
received in good order in Lincoln’s home office within the same transition periods outlined above.

Required solicitation forms include:

LincXpress™ Tele-App Ticket (LF11252)
Authorization for Release of Information (HIPAA) (LFO2896 or state variations)

Important Notice: Replacement of Life Insurance or Annuities (LF10087 or state variations) —
Must be signed on or before the earliest signed form in the ticket packet and is needed
whether replacing or not replacing.

Receipt of Privacy Practices Notice and Important Notice Acknowledgment Form (LF10244)

Agent’s Report (LF10971)—Completed and signed by agent only

5. Question: How will term conversions into Lincoln LifeGuarantee® UL (2013) meet the transition
requirements?

Answer: Term conversion applications must be signed, dated and received in good order in Lincoln’s
home office by October 14, 2016 in order to meet the transition requirements.

Nlustrations

illustrations for Lincoln LifeGuarantee® UL (2013) — rates as of 09/12/16 will be run on the current version of
the Lincoln Designit™ platform (v34 .0C). If you have an active internet connection, the software will
automatically update to include the new rates on September 12, 2016.

lf you need to download the Lincoln Designit™ platform, it is available on the Lincoln producer websites or
from Field Office Technicians.

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Policy Charges Update

Prudent management of our business and monitoring of the external environment has been crucial to Lincoln's
110-year track record of helping people secure their financial futures, and remains so today. Our industry
faces challenges and changes including historically low interest rates, volatile financial markets and an evolving
regulatory landscape. This environment makes it increasingly important for us to take the thoughtful steps
necessary to ensure we are providing value to policyholders and partners, while operating responsibly for the
long-term.

Effective October 9, 2016, current Cost of Insurance (COl) rates are being changed on some Legend Series
Universal Life policies issued by Jefferson Pilot (now Lincoln National Life Insurance Company) between the
years 1999 and 2007. While the majority of these changes are increases, some policyholders will also see
decreases, reflecting Lincoln’s commitment to acting fairly and responsibly. It should be noted that a large
percentage of those policyholders with a COl increase have a lapse protection rider or provision which remains
in effect.

The majority of our partners are not impacted by these changes. However, we are sharing this information to
ensure transparency. Below is a list of the products impacted by the changes.

 

 

 

 

 

Product Issued from Guaranteed Interest Rate
JP Legend 300
w/ Lapse Protection Rider 2000-2005 4.00%
w/out Lapse Protection Rider 2000-2007 4.00%
JP Lifewriter Legend 100 1999-2005 4.00%
JP Lifewriter Legend 200 1999-2005 4.00%
JP Lifewriter Legend 400 2001-2007 4.00%

 

 

 

 

 

These adjustments are based on material changes in future expectations of key cost factors associated with
providing this coverage, including:

e Lower investment income as a result of continued low interest rates

e Updated mortality assumptions, including instances of both higher and lower expected mortality rates
versus prior expectations

e Updated expenses, including higher reinsurance rates.

Actions that impact our policyholders and partners are never a first course of action, and are only taken after a
thorough and in-depth analysis and rigorous review process, including thoughtful consideration of the effect
on all stakeholders. Lincoln’s proven approach has allowed us to be a consistent partner that producers can
count on; maintain the breadth and diversity of our existing portfolio, while investing and innovating to ensure
partners have choice and relevant solutions; and remain financially sound to deliver on the long-term promises
we make to your clients.

If you have any questions, please contact your Lincoln representative.

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Lincoln Life Leader — August 29, 2016
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Lincoln Financial Group is the
marketing name for Lincoln National
Corporation and its affiliates.
Affiliates are separately

responsible for their own financial
and contractual obligations.

LCN:1569527-081216

[Lincoln
Financial Group”

You're In Charge:

For Agent/Broker use only, Not for use with the public,

Products and features subject to state availability. Guarantees are
subject to the financial strength of the insurer. Lincoln Financial Group is
the marketing name for The Lincoln National Corporation and its
affiliates.

insurance policies are issued by The Lincoin National Life Insurance
Company, Fort Wayne, IN. The Lincoln National Life Insurance Company
(Lincoln) does not solicit business in the state of New York, nor is it
authorized to do so. Contractual obligations are subject to the claims-
paying ability of The Lincoln National Life Insurance Company.

Insurance policies sold in New York are issued by Lincoln Life & Annuity
Company of New York, Syracuse, NY. The contractual obligations are
subject to the claims-paying ability of Lincoln Life & Annuity Company
of New York (Lincoin).

All guarantees and benefits of the insurance policy are subject to the
claims-paying ability of the issuing insurance company. They are not
backed by the broker-dealer and/or insurance agency selling the policy,
or any affiliates of those entities other than the issuing company
affiliates, and none makes any representations or guarantees regarding
the claims-paying ability of the issuer.

Variable products are sold by prospectus. For more information about
the variable products, including fees and charges, refer to the
prospectus. Variable products are distributed by Lincoln Financial
Distributors and offered through broker dealers with effective selling
agreements.

Only registered representatives can sell variable products.

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The Lincoln National Life Insurance Company
370 - Non-Guaranteed Opinion for Exhibit 5

2010 NAIC Annual Statement of The Lincoln National Life Insurance Company
Exhibit 5, Interrogatory 3.
Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

Determination Procedures

Policy to be Used in the Process of Determining Nonguaranteed Elements
for Nonparticipating Business

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates earned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. For each new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined. Depending
on the design of the product, some of the policy cost factors may be fixed or guaranteed at
issuc.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. ‘These adjustments are made in such a way that past
losses (i.e., experience less favorable to the Company than expected) are not recouped
and past gains (i.c., experience more favorable to the Company than expected) are not
distributed. These adjustments are made at the discretion of the Company, All

adjustments made will be made in accordance with applicable statutes, rules, and
contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American

Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed clements.
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2010 NAIC Annual Statement of The Lincoln National Life Insurance Company

Interrogatories

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made.

Yes. The interest rates credited on the company’s intcrest-sensitive life policies were
reduced, subject to contractual guarantees. The changes in credited interest rates were
4 result of a continued decreasing trend in portfolio rates. There was no material
spread change between the net investment income and the credited rate.

The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year. The changes in credited interest rates
were a result of normal investment yield fluctuations.

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were
made.

Yes, The interest rates credited on the company's interest-sensitive life policies were
reduced, subject to contractual guarantees. The changes in credited interest rates were
a result of a continued decreasing trend in portfolio rates. There was no material
spread change between the net investment income and the credited rate.

The interest rates credited on the company’s interest-sensitive annuities were
‘ncreased and/or decreased during the year. The spread between the net investment
income and the credited rate was increased in the renewal formula in 2010 for the
annual reset business to reflect higher surplus.

When customers performed an owner elected reset of their variable annuity living
benefits in 2010 the rider charge was increased to the current rider charge level.

Indicate to what extent any changes described in | or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

Are the anticipated experience factors underlying any nonguaranteed clements different from
current experience? If yes, describe in general terms the ways in which future experience is
anticipated to differ from current experience and the nonguaranteed element factors which
are affected by such anticipation,

Yes. In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
future with inflation. Mortality experience is also predicted to improve in the future.
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2010 NAIC Annual Statement of The Lincoln National Life Insurance Company

6.

5,

State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investment generation approach, or (c) other, If(b) or (c), describe
the general basis used, including the investment generation groupings.

Life insurance policies generally employ a portfolio average approach,

Annuities generally follow an investment generation where initial year rates are set
based upon new money rates. Annuity renewal rates can either follow an investment
generation approach or a portfolio average approach depending upon the product.
This generation approach generally groups funds by calendar month received.

Describe how the company allocates anticipated experience among its various classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, continued investments (and reinvestments) at current yields may affect
future declarations of excess interest rates or other nonguaranteed factors as
appropriate, to reflect changes in investment returns.

Describe any aspects of the determination of nonguaranteed elements not covered above that
involve material departures from the actuarial principles and practices of the American

Academy of Actuaries applicable to the determination of nonguaranteed elements,

None.
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2010 NAIC Annual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

1, Jeff Coutts, FSA, FCIA, MAAA, Vice President, am an officer of The Lincoln National Life
Insurance Company, and a Member of the American Academy of Actuaries. I and my associates
have examined the actuarial assumptions and methods used in determining nonguaranteed
elements for the individual life insurance and annuity contracts of the Company used for delivery
in the United States. The nonguaranteed elements included are those:

(i) paid, credited, charged or determined in 2010; and
(it) authorized by the Company to be illustrated on new and existing business
during 2010,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with generally accepted actuarial principles and practices applicable to the determination of
nonguaranteed clements, except as described above.

   

Jeff Coutts, FSA, FCIA, MAAA
Vice President, The Lincoln National Life Insurance Company

February 4, 201]
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The Lincoln National Life Insurance Company
370 - Non-Guaranteed Opinion for Exhibit §

 

2011 NAIC Annual Statement of The Lincoln National Life Insurance Company

Exhibit 5, Interrogatory 3.
Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answet: Yes. Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
fature assumptions, including mortality, persistency, expenses, premium taxes, interest
rates earned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. For cach new policy series the policy cost factors are
determined based on a stated profit objective, Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined, Depending
on the design of the product, some of the palicy cost factors may be fixed or guaranteed at
issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions, These adjustments arc made in such a way that past
losses (i.¢., experience less favorable to the Company than expected) are not recouped
and past gains (i.e., experience more favorable to the Company than expected) are not
distributed. These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed elements,
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2011 NAIC Annual Statement of The Lincoln National Life Insurance Company

Yes. In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
future with inflation, Mortality experience is also predicted to improve in the future.

§. State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investment gencration approach, or (c) other. If (b) or (c), describe
the genoral basis used, including the investment generation groupings,

Life insurance policies generally employ a portfolio average approach.

Annuities generally follow an investment generation where initial year rates are set
based upon new money rates. Annuity renewal rates can either follow an investment
generation approach or a portfolio average approach depending upon the product.
This generation approach generally groups funds by calendar month received.

6, Describe how the company allocates anticipated experience among ifs various classes of
business,

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

7, Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported. by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, continued inves(ments (and reinvestments) at current yields may affect
future declarations of excess interest rates or other nonguarantecd factors as
appropriate, io reflect changes in investment returns,

8. Describe any aspects of the determination of nonguaranteed elements not covered above that

involve material departures from the actuarial principles and practices of the American
Academy of Actuaries applicable to the determination of nonguaranteed elements.

None,

 
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2011 NAIC Annual Statement of The Lincoln National Life Insurance Company

Actuarial Opinion

I, Jeff Coutts, FSA, CIA, MAAA, Senior Vice President, am an officer of The Lincoln National
Life Insurance Company, and a Member of the American Academy of Actuaries, Tand my
associates have examined the actuarial assumptions and methods used in determining
nonguaranteed elements for the individual life insurance and annuity contracts of the Company
used for delivery in the United States. The nonguaranteed clements included are those:

(i) paid, credited, charged or determined in 2011; and

(ii) authorized by the Company to be illustrated on new and existing business
during 2011.

Our examination included such review of the actuarial assumptions and methads of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with generally accepted actuarial principles and practices applicable to the determination of
nonguaranteed elements, except as described above.

Cy Cure
Jett G6ulhVESA, FCIA, MAAA
Senior Vice President, The Lincoln National Life Insurance Company

February 3, 2012

 
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470 - Now-Guaranteed OpInton for Exhibit S
2012 NAIC Annual Statement of The Lincoln National Life Insurance Company

Exhibit 5, Interrogatory 3.
Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answet: Yes, Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

{f so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuatial opinion as described in the instructions,

The answers below apply only to Universal Life, Variable U niversal Life, Interest
Sensitive Whole Life and Indeterminate Premium Term Policies.

Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates carhed on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company's desired solvency objective, and
other applicable assumptions. For each new palicy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense foes are determined, Depending
on the design of the product, some of the policy cost factors may be fixed or guaranteed at
issue.

Cost factors that can vary are periodically reviewed and may be ad justed based on
changes in prospective assumptions. ‘These adjustments are made in such a way that past
losses (i.¢., experience less favorable to the Company than expected) are not recouped
and past gains (i.c., experience more favorable to the Company than expected) are not
distributed. These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts,

The initial determination of policy cost factors and any adjustments to policy cost factors
ate done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements,

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed clements.

 
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2012 NAIC Annual Statement of The Lincoln National Life Insurance Company

interrogatories

Sinco this statement was last filed, have there been any changes in the values of
nonguarantecd clements on new or existing business authorized for ilfustration by the
company? If yes, describe the changes that were made.

Yes. The interest rates credited on the company's interest-sensitive life policies were
reduced, subject to contractual guarantees. ‘The changes in credited interest rates were
a result of a continued decreasing trend in portfolio rates. There was no material
spread change between the net investment income and the credited rate.

Excess credits on the Company’s Excess Credit Whole Life block were reduced to
reflect the continued decreasing trend in portfolio rates. There was no change in the
parameters of the formulas used to determine excess credits.

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were

made,

Yes, The interest rates credited on the company's interest-sensitive life policies were
reduced, subject to contractual guarantees. The changes in credited interest rates were
a result of a continued decreasing trend in portfolio rates. There was no material
sproad change between the net investment income and the credited rate.

Excess credits on the Company’s Excess Credit Whole Life block were reduced to
reflect the continued decreasing trend in portfolio rates. There was no change in the
parameters of the formulas used to determine excess credits.

Indicate to what extent any changes described in | or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

Aro the anticipated experience factors underlying any nonguaranteed elements different from
cutrent experience? If yes, describe in general torms the ways in which future experience is
anticipated to differ from current experience and the nonguaranteed element factors which
ate affected by such anticipation.

Yes. In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
future with inflation. Mortality experience is also predicted to improve in the future.

State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (bh) an investment generation approach, or (c) other. If (b) or (c), describe
the general basis used, including the investment generation groupings.

 
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2012 NAIC Annual Statement of The Lincoln National Life Insurance Company

Life insurance policies generally employ a portfolio average approach.

6. Describe how the company allocates anticipated experience among its various classes of
business.

Anticipated experience is allocated. to each product based on recent, credible,
historical experience with policies of similar type.

7. Does the undersigned believe there is ¢ substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, emerging investment, mortality, and expense experience will be
continually monitored and changes to contractual nonguaranteed elements will be

made as warranted.

8. Describe any aspects of the determination of non guaranteed elements not covered above that
involye material departures from the Actuarial Standards of Practice issued by the Actuarial
Standards Board applicable to the determination of nonguaranteed elements,

None.

 
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2012 NAIC Annual Statement of The Lincoln National Life Insurance Company

Actuarial Opinion

1, Michael L. Parker, FSA, MAAA, Vice President, am an officer of ‘The Lincoln National Lite
Insurance Company, and a Member of the American Academy of Actuaries. T and my associates
have examined the actuarial assumptions and methods used in determining nonguatantced
elements for the individual life insurance contracts of the Company used for delivery in the
United States, The nonguaranteed elements included are those:

(i) paid, credited, charged or determined in 2012; and

(ii) authorized by the Company to be illustrated on new and existing business
during 2012,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguarantecd elements described above have been determined in accordance
with generally accepted actuavial principles and practices applicable to the determination of
nonguarantced elements, except as described above.

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Michael L, Parker, FSA, MAAA Vice President, The Lincoln National Life Insurance Company

February 6, 2013

 
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Exhibit 5, Interrogatory 3.

Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that confain nonguarantced elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

The answers below apply only to Deferred Annuity Policies.

Determination Procedures

Policy to be Used in the Process of Determining Nonguarantecd Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates earned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, (he Company’s desired solvency objective, and
other applicable assumptions. For each new policy scrics the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined. Depending
on the design of the product, some of the policy cost factors may be fixed or guaranteed at

issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. These adjustments are made in such a way that past
losses (Le., experience less favorable to the Company than expected) are not recouped
and past gains (Le., expetience more favorable to the Company than expected) are net
distributed. ‘These adjustments are made at the discretion of the Company. All

_ adjustments made will be made in accordance with applicable statutes, rules, and
contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements. ,

‘This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed elements,

 
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2012 NAIC Aunual Statement of The Lincoln National Life Insurance Company

Interrogaiories

I.

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made.

Yes. The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year. The changes in credited interest rates
were a result of normal investment yield fluctuations.

Since this statement was last filed, have {here been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were

made.

Yes. The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year. The spread between the net investment
income and the credited rate was increased in the renewal formula in 2012 to reflect
and increase in overhead costs. We also completed a review of our rate setting
procedures and refined the process to better reflect our assets and liability
management within our rate setting.

When customers performed an owner clected reset of their variable annuity living
benefits in 2012 the rider charge was increased to the current rider charge level.

Indicate to what extent any changes described in 1 or 2 vary trom the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

Are the anticipated experience factors underlying any nonguaranteed elements different from
current experience? If yos, describe in goneral terms the ways in which future experience 1s
anticipated to differ from current experience and the nonguaranteed element factors which
are affected by such anticipation.

Yes. Inthe determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
future with inflation. Mortatity experience is also predicted to improve in the future
and we added a dynamic lapse formula to take into account expected impacts from
differences between future market crediting rates and the expected crediting rates
offered on our products.

 
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2012 NAIC Annual Statement of The Lincoln National Life insurance Company

O.

State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investinent generation approach, or (c) other. If (b) or (c), describe
the general basis used, including the investment generation groupings.

Annuities generally follow an investment generation where initial year rates are set
based upon new money rates, Annuity renewal rates can either follow an investment
generation approach or a portfolio average approach depending upon the product and
age of the policy. This generation approach generally groups funds by calendar
month received.

Describe how the company allocates anticipated experience among its vatious classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented an new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, continued investments (and reinvestments) al current yields may affect
future declarations of excess interest rates or other nonguarantced factors as
appropriate, to reflect changes in investment returns.

Describe any aspects of the determination of nonguaranteed elements not covered above that

involve material departures from the Actuarial Standards of Practice issued by the Actuarial
Standards Board applicable to the determination of nonguaranteed elements.

None.

 
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2012 NAIC Annual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

I, Stephen ‘Turer, FSA, MAAA, am Vice President of The Lincoln National Life Insurance
Company. Iand my associates have examined the actuarial assumptions and methods used in
determining nonguaranteed elements for the individual annuity contracts of the Company used
for delivery in the United States, The nonguarantced elements included are those:

(i) paid, credited, charged or determined in 2012; and

(ii) authorized by the Company to be illustrated on new and existing business
during 2012,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with generally accepted actuarial principles and practices applicable to the determination of
nonguaranteed elements, except as described above,

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“Stephen Tufer, FSA, MAAA
Vice President, The Lincoln National Life Insurance Company

February 1, 2013

 
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Exhibit 5, Interrogatory 3.

Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policics.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

‘The answers below apply only to Universal Life, Variable Universal Life, Interest
Sensitive Whole Life and Indeterminate Premium Term Policies.

Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates eatned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company's desired solvency objective, and
other applicable assumptions. Tor each new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined, Depending
on the design of the product, some of the policy cost factors may be fixed or guaranteed at
issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. These adjustments are made in such a way that past
losses (i.c., experience less favorable to the Company than expected) are not recouped
and past gains (i.e., experience more favorable to the Company than expected) are not
distributed, These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable fo the determination and redetermination of
nonguaranteed elements.

‘This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed elements.

 
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2013 NAIC Annual Statement of The Lincoln National Life Insurance Company

Interrogatories

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Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or oxisting business authorized for illustration by the
company? If yes, describe the changes that were made.

Yes. ‘Ihe interest rates credited on the company's interest-sensitive life policies and
premium deposit funds were reduced, subject to contractual guarantees. The changes
in credited interest rates were a result of a continued decreasing trend in portfolio
rates. ‘here was no taterial spread change between the net investment income and
the credited rate,

Excess credits on the Company’s Excess Credit Whole Life block were reduced to
reflect the continued decreasing trend in portfolio rates. There was no change in the
parameters of the formulas used to determine excess credits,

Since this statement was last filed, have there been any changes in the values of -
nonguaranteed elements actually charged or credited? If yes, describe the changes thal were
made.

Yes. The interest rates credited on the company’s intcrest-sensitive life policies and
premium deposit funds were reduced, subject to contractual guarantees. The changes
in credited interest rates were a result of a continued decreasing trend in portfolio
rates. There was no material spread change between the net investment income and
the credited rate.

Excess credits on the Company’s Excess Credit Whole Life block were reduced to
reflect the continued decreasing trend in portfolio rates. ‘here was no change in the
parameters of the formulas used to determine excess credits.

Indicate to what extent any changes described in 1 or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

Are the anticipated experience factors underlying any non guaranteed elements different from
current experience? [f yes, describe in general terms the ways in which future experience is
anticipated to differ from current experience and the nonguaranteed element factors which
are affected by such anticipation,

Yes. In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continuc to increase in the
future with inflation. Mortality experience is also predicted to improve in the future.

 
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2013 NAIC Annual Statement of The Lincoln National Life Insurance Company

5. State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investment generation approach, or (c) other. If (b) or (c), describe
the general basis used, including the investment generation groupings.

Life insurance policies generally employ a portfolio average approach.

6, Describe how the company allocates anticipated experience among its various classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

7. Does the undersigned believe there is a substantial probability that illustrations autharized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, emerging investment, mortality, and expense experience will be
continually monitored and changes to contractual nonguaranteed elements will be
made as warranted.

8. Describe any aspocts of the determination of nonguaranteed elements not covered above that
involve material departures from the Actuarial Standards of Practice issued by the Actuarial

Standards Board applicable to the determination of nonguaranteed elements,

None.

 
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2013 NAIC Annual Statement of The Lincoln National Life Insurance Company

Actuarial Opinion

I, Michael L. Parker, 'SA, MAAA, Vice President, am an officer of The Lincoin National Life
Insurance Company, and a Member of the American Academy of Actuaries, I and my associates
have examined the actuarial assumptions and methods used in determining nonguaranteed
elements for the individual life insurance contracts of the Company used for delivery in the
United States. ‘The nonguaranteed elements included are those:

(i) paid, credited, charged or determined in 2.013; and
(ii) authorized by the Company to be illustrated on new and existing business
during 2013.

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguarantecd clements, except as described above.

Lh. p :
Michael L. Parker, FSA, MAAA
Vico President, The Lincoln National Life Insurance Company

 

 
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2013 NAIC Annual Statement of The Lincoln Nationat Life Insurance Company
Exhibit 5, Interregatory 3.
Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

‘The answers below apply only to Deferred Annuity Policies.
Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxcs, interest
rates carned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. Tor each new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined.
Depending on the design of the product, some of the policy cost factors may be fixed or
guaranteed at issue.

Cost factors that can vary ate periodically reviewed and may be adjusted based on
changes in prospective assumptions, These adjustments are made in such a way that past
losses (i.c., experience less favorable to the Company than expected) are not recouped
and past gains (i.¢., experience more favorable to the Company than expected) are not
distributed. ‘These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts,

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed clements.

This policy will be applicable for any and all presently issued or currently in force
policics that contain nonguaranteed elements.

 
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2013 NAIC Annual Statement of The Lincoln National Life Insurance Company
interrogatories

1. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on now or existing business authorized for illustration by the
company? If yes, describe the changes that were made.

Yes, The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the ycar. ‘The changes in credited interest rates
were aresult of normal investment yield fluctuations and refinements to our rate
setting process,

2. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were
made.

Yes. The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year, The spread between the net investment
income and the credited rate was increased in the renewal formula in 2013 to reflect
an update of the overhead cost assumption,

When customers performed an owner elected reset of their variable annuity living
benelits in 2013 the rider charge was increased to the current rider charge level.

3. Indicate to what extent any changes described in 1 or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

‘There are no material variations.

4, Are the anticipated experience factors underlying any nonguaranteed elements different from
current experience? If yes, describe in general terms the ways in which future experience is
anticipated to differ from current experience and the nonguaranteed element factors which are
affected by such anticipation.

Yes, In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
future with inflation. Mortality experience is also predicted to improve in the future
and we added a dynamic lapse formula to take into account expected impacts from
differences between future market crediting rates and. the expected crediting tates
offered on our products.

5, State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investment generation approach, or (c) other. If (b) or (c), describe
the general basis used, including the investment generation groupings.

 
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2013 NAIC Annual Statement of The Lincoln National Life Insurance Company

Annuities generally follow an investment generation where initial year rates are set
based upon new money rates. Annuity renewal rates can either follow an investment
generation approach or a portfolio average approach depending upon the product and
age of the policy. This generation approach generally groups funds by calendar
month received. ,

6. Describe how the company allocates anticipated experience among its various classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

7. Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, continued investments (and reinvestments) at current yields may affect
future declarations of excess interest rates or other nonguaranteed factors as
appropriate, to reflect changes in investment returns.

8. Describe any aspects of the determination of nonguaranteed elements not covered above that
involve material departures from the Actuarial Standards of Practice i ssued by the Actuarial

Standards Board applicable to the determination of nonguaranteed elements.

None,

 
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2013 NAIC Annual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

I, Stephen Turer, FSA, MAAA, am Vice President of The Lincoln National Life Insurance
Company. Land my associates have examined the actuarial assumptions and methods used in
determining nonguaranteed elements for the individ ual annuity contracts of the Company used for
delivery in the United States. The nonguaranteed elements included are those:

(i) paid, credited, charged or determined in 2013; and
(ii) authorized by the Company to be illustrated on new and existing business
during 2013,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of fhe actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguaranteed elements, except as described above.

Stephgt Turer, FSA, MAAA

Vice President, The Lincoln National Life Insurance Company

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Date

  
  

 

 
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The Lincoln National Life tnsuranee Company
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2014 NAIC Annual Statement of The Lincoln National Life Insurance Company
Exhibit 5, Interrogatory 3.
Does the company at present issue ot have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguarantced clements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

The answers below apply only to Universal Life, Variable Universal Life, Interest
Sensitive Whole Life and Indeterminate Premium Term Policies.

Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates carned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. For cach new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined, Depending
on the design of the product, some of the policy cost factors may be fixed or guaranteed at
issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions, These adjustments are made in such a way that past
losses (i.e., experience Icss favorable to the Company than expected) are not recouped
and past gains (i.c., experience more favorable to the Company than expected) are not
distributed. ‘These adjustments are made at the discretion of the Company. All
adjusiments made will be made in accordance with applicable statutes, rules, and
contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguarantced elements.

 
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2014 NAIC Annual Statement of The Lincoln National Life Insurance Company
Interrogatortes

1. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made.

No.

2. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were
made,

No,

3. Indicate to what extent any changes described in | or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

4. Are the anticipated experience factors underlying any nonguaranteed elements different from
current experience? If yes, describe in general terms the ways in which future experience is
anticipated to differ from current experience and the nonguaranteed element factors which
are affected by such anticipation.

Yes. In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
fature with inflation. Mortality cxperience is also predicted to improve in the future.

5. State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investment generation approach, or (c) other. If (b) or (c), describe
the general basis used, including the investment generation groupings.

Life insurance policies gencrally employ a portfolio average approach,

6. Describe how the company allocates anticipated experience among its various classes of
business,

Anticipated experience is allocated to cach product based on recent, credible,
historical experience with policies of similar type.

9. Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

 
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2014 NAIC Annual Statement of The Lincoln National Life Insurance Company

No, however, emerging investment, mortality, and expense experience will be
continually monitored and changes to contractual nonguaranteed elements will be
made as warranted.

8. Describe any aspects of the determination of nonguaranteed elements not covered above that
involve material departures from the Actuarial Standards of Practice issued by the Actuarial

Standards Board applicable to the determination of nonguaranteed elements.

None.

 
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2014 NAIC Amnual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

1, Michael L. Parker, FSA, MAAA, Vice President, am an officer of The Lincoln National Life
Insurance Company, and a Member of the American Academy of Actuaries. I and my associates
have examined the actuarial assumptions and methods used in determining nonguaranteed
elements for the individual life insurance contracts of the Company used for delivery in the
United States. ‘The nonguaranteed elements included are those:

(i) paid, credited, charged or determined in 2014; and

(ii) authorized by the Company to be illustrated on new and existing business
during 2014.

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary,
In my opinion, the nonguarantced elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguarantced clements, except as described above,

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7. , eT
Michael LL. Parker, FSA, MAAA
Vice President, The Lincoln National Life Insurance Company

 

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Date” ‘

 
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The Lincoln National Life Insurance Company
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2014 NAIC Annual Statement of The Lincoln Nat ional Life Insurance Company
Exhibit §, Interrogatory 3.
Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable U niversal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions,

‘Phe answers below apply only to Deferred Annuity Policies.
Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates earned on investments, volatility of returns expecied on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. For each new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortalily
and other policy benefits, surrender charges, and expense fees are determined.
Depending on the design of the product, some of the policy cost factors may be fixed or
guaranteed at issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. These adjustments are made in such a way that past
losses (i.e., experience less favorable to the Company than expected) are not recouped
and past gains (i.e., expericnee more favorable to the Company than expected) are not
distributed, These adjustments are made at the discretion of the Company, All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts.

‘The initial determination of policy cost factors and-any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American

Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements,

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed clements,

 
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2014 NAIC Annual Statement of The Lincoln National Life Insurance Company

Interrogatories

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? Ifyes, describe the changes that were made.

Yes, The interest rates credited on the company’s interest-sensilive antmities were
increased and/or decreased during the year. ‘The changes in credited interest rates
were a result of normal investment yield fluctuations and refinements to our rate
setting process.

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were
made.

Yes, The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year. The changes in credited interest rates
were a result of normal investment yicld fluctuations and refinements to our rate
setting process.

When customers performed an owner elected reset of their variable annuity living
bencfits in 2014 the rider charge was increased to the current rider charge level.

Indicate to what extent any changes described in 1 or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

Are the anticipated experience factors underlying any nonguaranteed elements different from
current experience? Ifyes, describe in general terms the ways in which future experience is

anticipated to differ from current experience and the nonguaranteed clement factors which are
affected by such anticipation.

Yes. Jn the determination of policy cost factors for some nonguaranteed products, it
is anticipated that policy administration expenses will continue to increase in the
future with inflation. Mortality experience is also predicted to improve in the future
and we added a dynamic lapse formula to take into account expected impacts from
differences between future market crediting rates and the expected crediting rates
offered on our products.

State whether anticipated investment income experience lactors are based on (a) a portfolio
average approach, (b) an investment generation approach, or (¢) other. If (b) or (c), describe
the general basis used, inchiding the investment generation groupings.

 
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2014 NAIC Annual Statement of The Lincoln National Life Insurance Company —

Annuities generally follow an investment generation where initial year rates are set
based upon new moncy rates, Annuity renewal rates can either follow an investment
generation approach or a portfolio average approach depending upan the product and
age of the policy. ‘This generation approach generally groups funds by calendar
month received.

6. Describe how the company allocates anticipated experience among its various classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

7, Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classcs and explain,

No, however, continued investments (and reinvestments) at current yields may affect
future declarations of excess interest rates or other nonguarantecd factors as
appropriate, to reflect changes in investment returns.

8, Describe any aspects of the determination of nonguarantced clements not covered above that
involve material departures from the Actuarial Standards of Practice issued by the Actuarial

Standards Board applicable to the determination of nonguaranteed elements.

None.

 
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2014 NAIC Annual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

1, Stephen Turer, PSA, MAAA, ain Vice President of The Lincoln National Life Insurance
Company. [and my associates have examined the actuarial assumptions and methods used in
determining nonguaranteed elements for the individual annuity contracts of the Company used for
delivery in the United States. The nonguaranteed elements included are those:

qi) paid, credited, charged or determined in 2014; and
(ii) authorized by the Company to be illustrated on new and existing business
during 2014,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination. of nonguaranteed elements, except as described above.

 

 

 
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2015 NAIC Annual Statement of The Lincoln National Life Insurance Company

Exhibit 5, Interrogatory 3.

Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguarantced elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

The answers below apply only to Universal I Afe, Variable Universal Life, Interest
Sensitive Whole Life and Indeterminate Premium Term Policies.

Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, reinsurance costs,
premium taxes, interest rates earned on investments, volatility of returns expected on
variable investment options, the Company’s federal income taxes, the Company’s desired
solvency objective, and other applicable assumptions. For each new policy series the
policy cost factors are determined based on a stated profit objective. Policy cost factors
such as premium rates, premium loads, interest rates credited on accumulated premiums,
charges for mortality and other policy benefits, surrender charges, and expense fees are
determined. Depending on the design of the product, some of the policy cost factors may
be fixed or guaranteed at issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. These adjustments are made in such a way that past
losses (i.¢., experience less favorable to the Company than expected) are not recouped
and past gains (i.e., experience more favorable to the Company than expected) are not
distributed; These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and

contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

‘This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed clements.
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2015 NAIC Annual Statement of The Lincoln National Life Insurance Company

Interrogatories

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made,

No.

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were

made.

No.

Indicate to what extent any changes described in 1 or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

There are no material variations.

Are the anticipated experience factors underlying any nonguaranteed clements different from
current experience? If yes, describe in general terms the ways in which future experience is
anticipated to differ from current experience and the nonguaranteed element factors which
are affected by such anticipation.

Yes, In the determination of policy cost factors for some nonguaranteed products, it
is anticipated that expenses will continue to increase in the future with inflation.
Reinsurance costs may increase based on reinsurer rate actions. Investment yields
may continue to decline and result in compression of spreads between earned rates
and crediting rates.

State whether anticipated investment income experience factors arc based on (a) a portfolio
average approach, (b) an investment generation approach, or (c) other, If (b) or (c), describe
the general basis used, including the investment generation groupings.

Life insurance policies generally employ a portfolio average approach.

Describe how the company allocates anticipaied experience among its various classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

 
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2015 NAIC Annual Statement of The Lincoln National Life insurance Company

Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

There is a probability that certain aged universal life policies may have changes made
to non-guaranteed elements due to emerging experience implicating the prospective
assumptions detailed in response to Interrogatory 3.

Describe any aspects of the determination of nonguaranteed elements not covered above that

involve material departures from the Actuarial Standards of Practice issued by the Actuarial
Standards Board applicable to the determination of nonguaranteed elements.

None.

 
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2015 NAIC Annual Statement of The Lincoln National Life Insurance Company

Actuarial Opinion

I, Michael L. Parker, FSA, MAAA, Senior Vice President, am an officer of The Lincoln National
Life Insurance Company, and a Member of the American Academy of Actuaries. Tand my
associates have examined the actuarial assumptions and methods used in determining
nonguaranteed elements for the individual life insurance contracts of the Company used for
delivery in the United States, The nonguarantced elements included are those:

(i) paid, credited, charged or determined in 2015; and
(11) authorized by the Company to be illustrated on new and existing business
during 2015.

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguaranteed elements, excep: as described above.

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Michael L. Parker, FSA, MAAA
Senior Vice President, The Lincoln National Life Insurance Company

January 29, 2016
Date

 

 
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2015 NAIC Annual Statement of The Lincoln National Life Insurance Company

Exhibit 5, Interrogatory 3.

Does the company at present issue or have in force policies that contain nonguarantecd elements?

Answer: Yes, Policies being issued or in force that contain nonguaranteed elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policics,

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

The answers below apply only to Deferred Annuity Policies.
Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates carned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. For each new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined.
Depending on the design of the product, some of the policy cost factors may be fixed or
guaranteed at issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions, These adjustments are made in such a way that past
losses (i.c., experience less favorable to the Company than expected) are not recouped
and past gains (i.e., experience more favorable to the Company than expected) are nol
distributed. These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts.

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed elements.

 
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2015 NAIC Anmual Statement of The Lincoln National Life Insurance Company

Inierrogatories

1. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made,

Yes. The interest rates credited on the company’s interest-sensilive annuities were
increased and/or decreased during the year. ‘The changes in credited interest rates
were a result of normal investment yield fluctuations and refinements to our rate
setting process.

2. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes that were
made.

Yes. The interest rates eredited on the company’s intcrest-sensitive annuities were
increased and/or decreased during the year. The changes in credited interest rates
were a result of normal investment yicld fluctuations and refinements to our rate
setting process.

When customers performed an owner elected resct of their variable annuity living
beriefits in 2015 the rider charge was increased to the current rider charge level.

3. Indicate to what extent any changes described in | or 2 vary from the policy and/or general
methods and procedures last reported for the affected contracts.

‘There are no material variations.

Arc the anticipated expericnce factors underlying any nongnarantced elements different from
current experience? If yes, describe in general terms the ways In which future experience is
anticipated to differ from current experience and the nonguarantced element factors which are
affected by such anticipation. Yes, In the determination of policy cost factors for some
nonguaranteed products, it is anticipated that policy administration expenses will
continue to increase in the future with inflation. Mortality experience is also
predicted to improve in the future and we added a dynamic lapse formula to take into
account expected impacts from differences between future market crediting rates and
the expected crediting rates offered on our products. VA Lapse experience also
continues to be lower than expected,

4, State whether anticipated investment income experience factors are based on (a) a portfolio
average approach, (b) an investment generaticn approach, or (c) other. If (b) or (c), describe
the general basis used, including the investment generation groupings.

 

 
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2015 NAIC Annual Statement of The Lincoln National Life Jasurance Company

Annuities generally follow an investment generation where initial year rates are set
based upon new money rates. Annuity renewal rates can cither follow an investment
generation approach or a portfolio average approach depending upon the product and
age of the policy. ‘This generation approach generally groups funds by calendar
month received.

Describe how the company allocates anticipated experience among its various classes of
business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

Does the undersigned believe there is a substantial probability that illustrations authorized by
the company to be presented on new and existing business cannot be supported by currently
anticipated experience? If yes, indicate which classes and explain.

No, however, continued investments (and reinvestments) at current yields may affect
future declarations of excess interest rates or other nonguaranteed factors as
appropriate, to reflect changes in investment returns.

Describe any aspects of the determination of nonguaranteed elements not covered above that

involve material departures from the Actuarial Standards uf Practice issued by the Actuarial
Standards Board applicable to the determination of nonguaranteed elements.

None,

 
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2015 NAIC Annual Statement of The Lincoln National Life Insurance Company

Actuarial Opinion

I, Stephen Turer, SA, MAAA, am Vice President of The Lincoln National Life Insurance
Company. I and my associates have examined the actuarial assumptions and methods used in

determining nonguaranteed elements for the individual annuity contracts of the Company used for

delivery in the United States. ‘The nonguaranteed elements included are those:
(i) paid, credited, charged or determined in 2015; and

(ii) authorized by the Company to be illustrated on new and existing business
during 2015.

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguaranteed elements, except as described above.

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“Stephen/T urer, FJA, MAAA

Vice President, The Lincoln National Life Insurance Company

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Date i

 

 

 
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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company
Exhibit 5, Interrogatory 3.
Does the company at present issue or have in force policies that contain nonguaranteed elements?

Answer: Yes. Policies being issued or in force that contain nonguaranteed clements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to the
interrogatories, and (c) an actuarial opinion as described in the instructions.

The answers below apply only to Universal Life, Variable Universal Life, Interest
Sensitive Whole Life and Indeterminate Premium Term Policies.

Determination Procedures
Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, reinsurance costs,
premium taxes, interest rates carned on investments, volatility of returns expected on
variable investment options, the Company’s federal income taxes, the Company’s desired
solvency objective, and other applicable assumptions. For each new policy series the
policy cost factors are determined based on a stated profit objective. Policy cost factors
such as premium rates, premium loads, interest rates credited on accumulated premiums,
charges for mortality and other policy benefits, surrender charges, and expense fees are
determined. Depending on the design of the product, some of the policy cost factors may
be fixed or guaranteed at issue.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. These adjustments are made in such a way that past
losses (i.e., experience less favorable to the Company than expected) are not recouped
and past gains (i.c., experience more favorable to the Company than expected) are not
distributed. These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts,

‘The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed elements.
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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company
Interrogatories

1. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made.

Yes.

The current cost of insurance rates on some products were increased to reflect the best
estimates of future cost factors such as mortality, investment income, expenses, and
the length of time policies stay in force.

The interest rate bonuses on some products were decreased to reflect the best
estimates of future investment income.

The non-guaranteed post-level term period premiums were decreased for some level
term products.

4. Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes
that were made,

Yes.

The current cost of insurance rates on some products were increased to reflect the best
estimates of future cost factors such as mortality, investment income, expenses, and
the length of time policies stay in force.

The interest rate bonuses on some products were decreased to reflect the best
estimates of future investment income.

The non-guaranteed post-level term period premiums were decreased for some level
term products.

3. Indicate to what extent any changes described in 1 or 2 vary from the policy and/or
general methods and procedures last reported for the affected contracts.

There are no material variations.

4. Are the anticipated experience factors underlying any nonguaranteed elements
different from current experience? If yes, describe in general terms the ways in which
future experience is anticipated to differ from current experience and the
nonguaranteed element factors which are affected by such anticipation.

Yes. In the determination of policy cost factors for some nonguaranteed life
insurance products, it is anticipated that expenses will continue to increase in the
future with inflation, Reinsurance costs may increase based on reinsurcr rate actions.
Investment yields may continue to decline and result in compression of spreads
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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company

between earned rates and crediting rates. Future mortality experience may vary from
past and current experience.

5. State whether anticipated investment income experience factors arc based on (aja
portfolio average approach, (b) an investment generation approach, or (c) other. If (b)
or (c), describe the general basis used, including the investment generation groupings.

Life insurance policies generally employ a portfolio average approach.

6. Describe how the company allocates anticipated experience among its various classes
of business.

Anticipated experience is allocated to each product or group of products based on
recent, credible, historical experience with policies of similar type.

7. Does the undersigned believe there is a substantial probability that illustrations
authorized by the company to be presented on new and existing business cannot be
supported by currently anticipated experience? If yes, indicate which classes and
explain.

There is a probability that certain aged universal life policies may have changes made
to non-guaranteed elements due to emerging experience implicating the prospective
assumptions detailed in response to Interrogatory 3.

8. Describe any aspects of the determination of nonguaranteed elements not covered
above that involve material departures from the Actuarial Standards of Practice issued
by the Actuarial Standards Board applicable to the determination of nonguaranteed
elements.

None.
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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

1, Stafford L. Thompson, Jr., FSA, MAAA, Senior Vice President, am an officer of The Lincoln
National Life Insurance Company, and a Member of the American Academy of Actuaries. | and
my associates have examined the actuarial assumptions and methods used in determining
nonguaranteed elements for the individual life insurance contracts of the Company used for
delivery in the United States, The nonguaranteed elements included are those:

(i) paid, credited, charged or determined in 2017; and

(ii) authorized by the Company to be illustrated on new and existing business
during 2017,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguaranteed elements, except as described above.

Stafford C. Thompson, Jr., FSA, MAAA

Senior Vice President, The Lincoln National Life Insurance Company

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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company
Exhibit 5, Interrogatory 3.

Does the company at present issue or have in force policies that contain nonguaranteed
elements?

Answer: Yes. Policies being issued or in force that contain nonguarantced elements
include Universal Life, Variable Universal Life, Interest Sensitive Whole Life,
Indeterminate Premium Term, and Deferred Annuity policies.

If so, attach a statement that contains (a) the determination procedures, (b) the answers to
the interrogatories, and (c) an actuarial opinion as described in the instructions,

The answers below apply only to Deferred Annuity Policies.

Determination Procedures

Policy to be Used in the Process of Determining Nonguaranteed Elements

In the development of a new policy series, the Company determines its best estimate of
future assumptions, including mortality, persistency, expenses, premium taxes, interest
rates earned on investments, volatility of returns expected on variable investment options,
the Company’s federal income taxes, the Company’s desired solvency objective, and
other applicable assumptions. For each new policy series the policy cost factors are
determined based on a stated profit objective. Policy cost factors such as premium rates,
premium loads, interest rates credited on accumulated premiums, charges for mortality
and other policy benefits, surrender charges, and expense fees are determined.

Depending on the design of the product, some of the policy cost factors may be fixed or
guaranteed at issuc.

Cost factors that can vary are periodically reviewed and may be adjusted based on
changes in prospective assumptions. These adjustments are made in such a way that past
losses (i.¢., experience less favorable to the Company than expected) are not recouped
and past gains (i.c., experience more favorable to the Company than expected) are not
distributed. These adjustments are made at the discretion of the Company. All
adjustments made will be made in accordance with applicable statutes, rules, and
contracts,

The initial determination of policy cost factors and any adjustments to policy cost factors
are done in accordance with the actuarial principles and practices of the American
Academy of Actuaries, which are applicable to the determination and redetermination of
nonguaranteed elements.

This policy will be applicable for any and all presently issued or currently in force
policies that contain nonguaranteed elements.
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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company

Interrogatories

1,

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements on new or existing business authorized for illustration by the
company? If yes, describe the changes that were made.

Yes. The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year. The changes in credited interest rates
were a result of normal investment yield fluctuations and changes in the cost of
options supporting the indexed account interest credited.

Since this statement was last filed, have there been any changes in the values of
nonguaranteed elements actually charged or credited? If yes, describe the changes
that were made.

Yes. The interest rates credited on the company’s interest-sensitive annuities were
increased and/or decreased during the year. The changes in credited interest rates
were a result of normal investment yield fluctuations and changes in the cost of
options supporting the indexed account interest credited.

When customers performed an owner elected reset of their variable annuity living
benefits in 2016 the rider charge was increased to the current rider charge level.

Indicate to what extent any changes described in 1 or 2 vary from the policy and/or
general methods and procedures last reported for the affected contracts.

There are no material variations.

Are the anticipated experience factors underlying any nonguaranteed elements
different from current experience? If yes, describe in general terms the ways in
which future experience is anticipated to differ from current experience and the
nonguaranteed clement factors which are affected by such anticipation.

In the determination of policy cost factors for some nonguaranteed products, it is
anticipated that policy administration expenses will continue to increase in the future
with inflation. For policy behavior experience, mortality experience is predicted to
improve in the future and the dynamic lapse formula will take into account expected
impacts from differences between future market conditions and the expected policy
holder benefits offered on our fixed and variable annuity products
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2017 NAIC Annual Statement of The Lincoln National Life Insurance Company

5, State whether anticipated investment income experience factors are based on (a) a
portfolio average approach, (b) an investment generation approach, or (c) other. If (b)
or (c), describe the gencral basis used, including the investment generation groupings.

Annuities generally follow an investment generation where initial year rates are set
based upon new money rates. Annuity renewal rates can either follow an investment
generation approach or a portfolio average approach depending upon the product and
age of the policy. This generation approach generally groups funds by calendar
month received.

6. Describe how the company allocates anticipated experience among its various classes
of business.

Anticipated experience is allocated to each product based on recent, credible,
historical experience with policies of similar type.

7. Does the undersigned believe there is a substantial probability that illustrations
authorized by the company to be presented on new and existing business cannot be
supported by currently anticipated experience? If yes, indicate which classes and
explain.

No, however, continued investments (and reinvestments) at current yields may affect
future declarations of excess interest rates or other nonguaranteed factors as
appropriate, to reflect changes in investment returns.

8. Describe any aspects of the determination of nonguaranteed elements not covered
above that involve material departures from the Actuarial Standards of Practice issued
by the Actuarial Standards Board applicable to the determination of nonguaranteed
elements.

None.
Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 140 of 146

2017 NAIC Annual Statement of The Lincoln National Life Insurance Company
Actuarial Opinion

I, Stephen Turer, FSA, MAAA, am Senior Vice President of The Lincoln National Life Insurance
Company. | and my associates have examined the actuarial assumptions and methods used in
determining nonguaranteed elements for the individual annuity contracts of the Company used for
delivery in the United States. The nonguaranteed clements included are those:

G) paid, credited, charged or determined in 2017; and

(i) authorized by the Company to be illustrated on new and existing business
during 2017,

Our examination included such review of the actuarial assumptions and methods of the
underlying basic records and such tests of the actuarial calculations as we considered necessary.
In my opinion, the nonguaranteed elements described above have been determined in accordance
with Actuarial Standards of Practice issued by the Actuarial Standards Board applicable to the
determination of nonguaranteed elements, except as described above.

 

 
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JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor supp!
provided by local rules of court. This form, approved by the Judicial Conference of the U

CIVIL COVER SHEET

ement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (Sif INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS
LSH Co, and Wells Fargo Bank, National Association
(b) County of Residence of First Listed Plaintiff Foreign

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

See Attachment

DEFENDANTS

Lincoln National Corporation and the Lincoln National Life Insurance
Company
County of Residence of First Listed Defendant _ Delaware County
(IN U.S, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (if Known)

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only} and One Box for Defendant)
O 1 U.S, Government C13. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ql (KX 1 Incorporated or Principal Place o4 04
of Business In This State
O 2 US, Government 4 Diversity Citizen of Another State (K2 © 2 Incorporated and Principal Place o5 O85
Defendant (Indicate Citizenship of Parties in Hem HD) of Business In Another State
Citizen or Subject of a (K3  O 3 Foreign Nation 6 O6
Foreign Country
IV. NATURE OF SUIT (Ptace an "X" in One Box Only) Click here for: Nature of Suit Code Descriptions.
I CONTRACT. : TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STATUTES |
& 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure (J 422 Appeal 28 USC 158 O 375 False Claims Act
( 120 Marine (0 310 Airplane C} 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal CO 376 Qui Tam (31 USC
O 130 Miller Act (9 315 Airplane Product Product Liability 7 690 Other 28 USC 157 3729(a))
C) 140 Negotiable Instrument Liability C1 367 Health Care/ 1 400 State Reapportionment
( 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS .-.) 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights © 430 Banks and Banking
(J 151 Medicare Act 330 Federal Employers’ Product Liability 1) 830 Patent 0 450 Commerce
(1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal (J 835 Patent - Abbreviated (1 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application | (C} 470 Racketeer Influenced and
(Excludes Veterans) (1 345 Marine Product Liability (3 840 Trademark Corrupt Organizations
( 153 Recovery of Overpayment Liability PERSONAL PROPERTY ‘ LABOR SOCIAL SECURITY (J 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle (J 370 Other Fraud (7 710 Fair Labor Standards O 861 HIA (1395ff) © 490 Cable/Sat TV
© 160 Stockholders’ Suits C1 355 Motor Vehicle 371 Truth in Lending Act 1 862 Black Lung (923) (1) 850 Securities/Commodities/
O 190 Other Contract Product Liability ( 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
C1 195 Contract Product Liability | 360 Other Personal Property Damage Relations (1 864 SSID Title XVI CI 890 Other Statutory Actions
0) 196 Franchise Injury © 385 Property Damage 740 Railway Labor Act O 865 RSI (405(g)) ( 891 Agricultural Acts

CF 362 Personal Injury - q

Medical Malpractice
“CIVIL RIGHTS

440 Other Civil Rights

C1 441 Voting

O 442 Employment

1 443 Housing/
Accommodations

Product Liability

 

PRISONER PETITIONS
Habeas Corpus:
© 463 Alien Detainee
(2 419 Motions to Vacate
Sentence
© 530 General

o
a

REAL PROPERTY,
210 Land Condemnation
220 Foreclosure
230 Rew Lease & Ljoctment
240 Torts to Land
0 245 Tort Product Liability

 

g
a
qg

(7 893 Environmental Matters

(J 895 Freedom of Information
Act

0 896 Arbitration

1 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

(J 950 Constitutionality of

751 Family and Medical
Leave Act

790 Other Labor Litigation

791 Fimployee Retirement
Income Security Act

 

FEDERAL TAX SUITS
C870 Taxes (U.S. Plaintiff
or Defendant)
© 871 IRS—Third Party
26 USC 7609

 

 

G 290 All Other Real Property 445 Amer. w/Disabilities - | 535 Death Penalty

IMMIGRATION State Statutes

 

 

 

 

 

 

 

Employment Other: (J 462 Naturalization Application
0 446 Amer. w/Disabilities - | 540 Mandamus & Other |( 465 Other Immigration
Other 550 Civil Rights Actions
CO) 448 Education 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "X” in One Box Only)
PX 1 Original 2 Removed from O 3  Remanded from (14 Reinstated or © 5 Transferred from © 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing
28 U.S.C. 1332

Brief description of cause:

VI. CAUSE OF ACTION

(Do not cite jurisdictional statutes unless diversity):

 

Diversity action; breach of contract regarding insurance coverage

 

 

 

 

 

VII. REQUESTED IN ( CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.C¥.P. > 460,000 JURY DEMAND: {Yes _ No
VIIL RELATED CASE(S)
IF ANY (See instructions): JUDGE Pappert DOCKET NUMBER 47-2592
DATE SIGNATUR F AZTORNEY OF OR
12/21/2018 [ZA ; p>
FOR OFFICE USE ONLY 7 /

whe IFP

RECEIPT # AMOUNT

JUDGE

MAG, JUDGE
Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 142 of 146

Attachment

Section I(c): Plaintiffs’ Attorneys:

John G. Papianou, Esquire (PA ID No. 88149)
Brett M. Waldron, Esquire (PA ID No. 316773)
Montgomery McCracken Walker & Rhoads LLP
1735 Market Street, 21° Floor

Philadelphia PA, 19103

Telephone: 215-772-1500

Facsimile: 215-772-7620

Email: jpapianou@mmwr.com

Email: bwaldron@mmwr.com

Avi Israeli, Esquire*

Holwell Shuster & Goldberg LLP
425 Lexington Avenue, 14th Floor
New York, New York 10017
Telephone: 646-837-5151
Facsimile: 646-837-5150

Email: aisraeli@hsgllp.com

Counsel for Plaintiffs
*4pplication for admission pro hac vice to be submitted
Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 143 of 146

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DESIGNATION FORM
(io be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 14, rue Edward Steichen, L- 2540 Luxembourg
Address of Defendant: 150 North Radnor-Chester Rd., Radnor, Pennsylvania 19087

 

150 North Radnor-Chester Rd., Radnor, Pennsylvania 19087

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

17-2592 Pappert

Date Terminated:

Case Number: Judge:

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No [|
pending or within one year previously terminated action in this court?

3, Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No [|
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No [|
case filed by the same individual?

I certify that, to my knowledge, the within case [1 is / £0 is notAclated any case now pending or within one year previously terminated action in
this court except as noted above.

pare. 12/21/2018 88149

 

 

1 tne
/. (pelo eat Lip Pro Se Plaintiff Attorney ID. # (if applicable)
Z L

 

CIVIL: (Place a ¥ in one category only) / /

>

Federal Question Cases: Diversity Jurisdiction Cases:

1. Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts
2. FELA Airplane Personal Injury

3. Jones Act-Personal Injury Assault, Defamation

4, Antitrust Marine Personal Injury

5. Patent Motor Vehicle Personal Injury

Other Personal Injury (Please specify):
Products Liability

Products Liability — Asbestos

All other Diversity Cases

. Labor-Management Relations
7, Civil Rights

8. Habeas Corpus

9. Securities Act(s) Cases

DONOOOOOOS)

 

 

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10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)
1, John G. Papianou , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[V7] Relief other than monetary damages is sought.

12/21/2018 88149

DATE: non,
fneyeat Low / Pro Se Plaintiff Attorney LD. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been cémpliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 14, rue Edward Steichen, L- 2540 Luxembourg
Address of Defendant: 150 North Radnor-Chester Rd., Radnor, Pennsylvania 19087

 

450 North Radnor-Chester Rd., Radnor, Pennsylvania 19087

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

17-2592 Pappert

Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [|] nol |
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No [|
pending or within one year previously terminated action in this court?

3, Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No |_|
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [
case filed by the same individual?

   
 

I certify that, to my knowledge, the within case [2] is / (2 is not ated to any case now pending or within one year previously terminated action in

this court except as noted above.

 

 

 

Social Security Review Cases (Please specify):

 

 

— O°

pare. 12/21/2018 88149
WA “Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)
LL
CIVIL: (Place a ¥ in one category only) UY
A. Federal Question Cases: B. Diversity Jurisdiction Cases:
Ol 1. Indemnity Contract, Marine Contract, and All Other Contracts 1, Insurance Contract and Other Contracts
[] 2. FELA CL] 2. Airplane Personal Injury
[-] 3. Jones Act-Personal Injury [.] 3. Assault, Defamation
{] 4. Antitrust [] 4. Marine Personal Injury
5. Patent L_] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
CL] 7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus ([] 8. Products Liability - Asbestos
. 9. Securities Act(s) Cases L] 9 Alf other Diversity Cases
1
[] !

All other Federal Question Cases
(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

John G. Papianou

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

 

pare. 12/21/2018 , 88149

A ttoriig jogpaw / Pro Se Plaintiff Attorney ID. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been com nce with FR.CP. 38.

 

Civ, 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

LS}A CO, ond puts Fray Beals Net CIVIL ACTION
AS icah\

ve ond
Lavin MNeRoanl Corteora ana :
Hee Linea Mabie Lift Tyre GA ews :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

NO.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. Or

\2/n (i Jf — _ Hlonb ts

Date Jone Attorney for
ANS 172-1384 UWS -111- bre | Pagionan Conte cary

Telephone FAX Number E-Mail Address

 

(Civ. 660) 10/02
Case 2:18-cv-05529-GJP Document1 Filed 12/21/18 Page 146 of 146

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
